         Case: 23-10718       Document: 9      Page: 1    Date Filed: 07/18/2023


                                      No. 23-10718


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


  Jennifer VanDerStok; Michael G. Andren; Tactical Machining, L.L.C., a limited liability
        company; Firearms Policy Coalition, Incorporated, a nonprofit corporation,
                                                Plaintiffs-Appellees,

   Blackhawk Manufacturing Group, Incorporated, doing business as 80 Percent Arms;
Defense Distributed; Second Amendment Foundation, Incorporated; Not An L.L.C., doing
                    business as JSD Supply; Polymer80, Incorporated,
                                                Intervenor Plaintiffs-Appellees,

                                               v.
  Merrick Garland, U.S. Attorney General; United States Department of Justice; Steven
Dettelbach, in his official capacity as Director of the Bureau of Alcohol, Tobacco, Firearms
         and Explosives; Bureau of Alcohol, Tobacco, Firearms, and Explosives,
                                                    Defendants-Appellants.


                     On Appeal from the United States District Court
                          for the Northern District of Texas


                   EMERGENCY MOTION PURSUANT TO
               CIRCUIT RULE 27.3 FOR STAY PENDING APPEAL


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              Case: 23-10718                Document: 9               Page: 2        Date Filed: 07/18/2023




                                             TABLE OF CONTENTS

                                                                                                                              Page

INTRODUCTION ..................................................................................................................1

STATEMENT ...........................................................................................................................3

ARGUMENT ............................................................................................................................8

I.       The Government Is Likely to Prevail on the Merits ................................................8

          A.       The Challenged Provisions Comport with the Statute ................................ 8

          B.       The District Court’s Vacatur Was Overbroad ............................................13

II.      The Remaining Factors Favor a Stay ....................................................................... 16

CONCLUSION ..................................................................................................................... 21

CERTIFICATE OF SERVICE

CERTIFICATE OF COMPLIANCE




                                                                  i
         Case: 23-10718       Document: 9        Page: 3   Date Filed: 07/18/2023




                                  INTRODUCTION

       The district court wholly vacated a rule that ensures the continued effective

implementation of firearm safety laws, including by addressing the growing threat to

public safety posed by the proliferation of unserialized firearms. Because that decision

is unfounded and threatens critical public-safety interests, the government respectfully

seeks a stay of the judgment pending appeal. The government requests that the Court

either (1) grant this stay motion by Tuesday, July 25, when the district court’s 7-day

administrative stay expires, or (2) enter its own administrative stay to allow for the

orderly resolution of this motion. If the Court declines to grant a stay pending appeal,

the government requests that it enter an administrative stay of at least ten days to

permit the Supreme Court to consider an application for a stay, should the Solicitor

General elect to file one.

       Congress enacted licensing, background check, and recordkeeping

requirements to ensure that law enforcement may trace firearms used in crimes and

that firearms are not sold to those, such as felons, who cannot lawfully possess them.

In delineating these requirements, Congress defined “firearm” to include, as relevant

here, “any weapon” that “will or is designed to or may readily be converted to expel a

projectile by the action of an explosive,” as well as the “frame or receiver” (that is, the

major structural component) “of any such weapon.” 18 U.S.C. § 921(a)(3). This

definition reflects Congress’s understanding that limiting the statute only to

operational weapons would have allowed persons to circumvent the statute by selling
                                             1
         Case: 23-10718       Document: 9        Page: 4   Date Filed: 07/18/2023




firearms that may readily be converted into operational weapons without obtaining a

license, marking such weapons with traceable serial numbers, keeping records, or

running background checks.

       Responding to technological advances and the proliferation of products

permitting individuals to easily assemble firearms sold outside Congress’s regulatory

scheme, ATF promulgated a rule: Definition of “Frame or Receiver” and Identification of

Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (Rule). As relevant to plaintiffs’ claims,

the Rule updates regulatory defintions to clarify that firearms parts kits or

aggregations of parts that enable a purchaser to readily assemble an operational

weapon, or readily construct a functional frame or receiver, fall within the statutory

definition of “firearm.” In addition, the Rule contains myriad other provisions, not

addressed in the district court’s opinion, generally aimed at ensuring the continued

effective implementation of the statutory requirements.

       The Rule does not prohibit the purchase, sale, or possession of any firearm, nor

does the Rule prohibit an individual from making a firearm. Rather, the Rule

reinforces compliance with Congress’s gun-safety regime. It ensures that background

checks are conducted before individuals purchase firearms from federal firearms

licensees and that licensees mark firearms with serial numbers and keep records to

enable law enforcement to trace firearms used in crimes.

       The district court granted summary judgment to plaintiffs on their claims that

two portions of the Rule are contrary to law. And it purported to “vacate” the entire
                                             2
         Case: 23-10718       Document: 9        Page: 5   Date Filed: 07/18/2023




Rule—rather than only the provisions it found unlawful—and as applied to

everybody. That decision was erroneous. The challenged provisions of the law

comport fully with the statute, and the district court identified no basis that could

support its overbroad remedy. Because the Rule serves critical interests that will be

irreparably impaired by the vacatur, this Court should enter a stay pending appeal.

                                     STATEMENT

       1. Congress has enacted requirements for persons who import, manufacture, or

deal in “firearms.” 18 U.S.C. §§ 922-923. Such persons must obtain a federal firearms

license, id. § 923(a), maintain certain records of firearm acquisition and transfer, id.

§ 923(g)(1)(A), and conduct a background check before transferring firearms to a non-

licensee, id. § 922(t). In addition, Congress has required importers and manufacturers

to identify firearms with a serial number on the receiver or frame. Id. § 923(i).

       The statutory scheme hinges on the definition of “firearm.” Congress defined

that term to include “any weapon” that “will or is designed to or may readily be

converted to expel a projectile by the action of an explosive” as well as “the frame or

receiver of any such weapon.” 18 U.S.C. § 921(a)(3). Because Congress did not define

the terms “frame” or “receiver,” ATF in 1986 defined “frame or receiver” as “[t]hat

part of a firearm which provides housing for the hammer, bolt or breechblock, and

firing mechanism, and which is usually threaded at its forward portion.” 33 Fed. Reg.

18,555, 18,558 (Dec. 14, 1968). That regulation provided direction as to which portion

of a weapon constituted the frame or receiver for licensing, serialization, and
                                             3
          Case: 23-10718      Document: 9       Page: 6   Date Filed: 07/18/2023




recordkeeping purposes and ensured that a component necessary for the weapon’s

functioning could be traced if the weapon were used in a crime. See 87 Fed. Reg. at

24,652.

       2. In the last half-century, advances in weapon design have rendered ATF’s

regulatory definition incomplete. Today, most weapons have a split or multi-piece

receiver, or they incorporate a striker rather than a hammer. See 87 Fed. Reg. at

24,652. Thus, as many as 90% of firearms do not have a single component that

houses a hammer, a bolt or breechblock, and a firing mechanism; under an overly

literal application of the 1968 regulation, those firearms would have no frame or

receiver. Id.

       In addition, technological advances have made it easier to create firearm parts

kits, standalone frame or receiver parts, and easy-to-complete frames or receivers.

Some entities have been selling these items without complying with statutory

requirements. 87 Fed. Reg. at 24,652. Such sales permit persons who have not

completed a background check to easily assemble firearms. And because these

firearms usually lack serial numbers, they are difficult for law enforcement to trace if

they are used in crimes. Id. at 24,652, 24,659.

       3. ATF promulgated the Rule. As relevant to plaintiffs’ claims, the Rule amends

certain regulatory definitions to ensure they reflect the modern realities of firearm

design.


                                            4
         Case: 23-10718       Document: 9       Page: 7   Date Filed: 07/18/2023




       First, the Rule amends the regulatory definition of “firearm.” As explained, the

statutory definition includes weapons that are “designed to or may readily be

converted to expel a projectile by the action of an explosive.” 18 U.S.C.

§ 921(a)(3)(A). Weapon parts kits—some of which contain all components necessary

to easily assemble a functional weapon and even templates and tools—have

increasingly been sold without compliance with statutory licensing, recordkeeping,

and background check requirements. 87 Fed. Reg. at 24,662. The Rule clarifies that

the term “firearm” includes “a weapon parts kit that is designed to or may readily be

completed, assembled, restored, or otherwise converted to expel a projectile by the

action of an explosive.” Id. at 24,662, 24,727, 24,735. Second, the Rule clarifies that

frames and receivers that are partially complete, disassembled, or nonfunctional (such

as a frame or receiver parts kit) constitute frames or receivers subject to regulation if

they are designed to, or may readily be converted to, function as a frame or receiver.

Id. at 24,663, 24,727-28, 24,739.

       In addition, the Rule contains a host of other provisions generally aimed at

ensuring the continued effective implementation of the statutory serializing,

recordkeeping, and licensing requirements, particularly given the modern realities of

firearm design. For example, the Rule contains updated definitions to ensure that each

firearm has a frame or receiver subject to the statutory requirements, in keeping with

Congress’s intent to ensure one part of each firearm is so regulated. See 87 Fed. Reg.

at 24,652, 24,727, 24,735.
                                            5
         Case: 23-10718      Document: 9        Page: 8   Date Filed: 07/18/2023




       The Rule also contains various provisions related to regulating silencers and

mufflers. For example, the Rule identifies the particular part of a muffler or silencer as

the “frame or receiver” subject to licensing, background check, and marking

requirements and explains when and how those marking requirements apply to

silencer parts and to complete silencers. 87 Fed. Reg. at 24,739, 24,747-78.

       And the Rule contains provisions requiring licensees to serialize unmarked

firearms if they are taken into the dealer’s inventory. 87 Fed. Reg. at 24,653, 24,742-

44. The Rule also extends the time for which licensees are required to maintain

records from 20 years to the duration of the licensee’s business or licensed activity. See

id. at 24,690, 24,746-47.

       Finally, the Rule provides: “[I]n the event any provision of this rule,” or “the

application of such provision” to “any person or circumstance,” is determined to be

invalid, “the remainder” of the Rule, and “the application of the provisions of [the

Rule] to any person or circumstance[,] shall not be affected and shall be construed so

as to give them the maximum effect permitted by law.” 87 Fed. Reg. at 24,730.

       4. Plaintiffs and intervenor-plaintiffs—collectively, two individual firearm

owners, two advocacy organizations, and five entities that manufacture or distribute

items regulated by the Rule—filed or joined this lawsuit. They claim that two portions

of the Rule are contrary to law: (1) the definitions of “frame” and “receiver” to

include partially complete, disassembled, or nonfunctional frames and receivers that

may readily be converted to functional frames and receivers; and (2) the definition of
                                            6
          Case: 23-10718         Document: 9          Page: 9   Date Filed: 07/18/2023




“firearm” to include a weapon parts kit that is designed to, or may readily be

assembled to, function as a firearm. See Add.9. In a series of previous opinions, the

district court granted preliminary injunctions limited to the individual plaintiffs and

some of the manufacturer plaintiffs and their customers. In granting that relief, the

court concluded that the two challenged provisions of the Rule were likely contrary to

the statute, but it also concluded that broader relief was not necessary to redress

plaintiffs’ injuries. See, e.g., Dkt. 89, at 19-20.

       The district court has now entered summary judgment for the plaintiffs and

vacated the Rule in its entirety, without any consideration of severability. As relevant

here, the court concluded that plaintiffs are correct that the two challenged provisions

of the Rule are contrary to law. Add.25-35. As a remedy, the district court vacated the

Rule. Add.37. In entering that relief, the court did not address the Rule’s discussion of

severability or the possibility of vacating only the challenged provisions. Nor did the

court conclude that a universal vacatur—of the entire Rule and as applied to

everybody, including non-parties—was justified by equitable balancing or necessary to

redress plaintiffs’ asserted injuries. Instead, the court stated that vacatur is the “default

remedy.” Id.

       On July 18, the district court denied the government’s request for a stay

pending appeal but entered a 7-day administrative stay of its judgment to permit the

government to “seek emergency appellate relief.” Add.41.


                                                 7
        Case: 23-10718       Document: 9     Page: 10     Date Filed: 07/18/2023




                                     ARGUMENT

       All four of the familiar factors governing the grant of a stay pending appeal

favor staying the vacatur order in its entirety—or, in the alternative, staying the

overbroad portions of that order. See Nken v. Holder, 556 U.S. 418, 426 (2009). The

district court erred in vacating any portion of the Rule, and its vacatur should be

stayed pending appeal. At the very least, the court had no warrant to stay the many

portions of the Rule that the court did not address, and any remedy should have been

limited to the parties themselves.

I.     The Government Is Likely to Prevail on the Merits

       A.    The Challenged Provisions Comport with the Statute

       1. The Rule clarifies that the terms “frame” and “receiver” include a “partially

complete, disassembled, or nonfunctional frame or receiver” that “is designed to or

may readily be completed, assembled, restored, or otherwise converted to function as

a frame or receiver.” 27 C.F.R. § 478.12(c). The district court’s conclusion that this

definition is unlawful misunderstands both the statute and the Rule.

       As the Rule explains, the text of the statute does not “define the term ‘frame or

receiver,’” instead leaving it to the agency to define “at what point an unregulated

piece of metal, plastic, or other material becomes a ‘frame or receiver’ that is a

regulated item under Federal law.” 87 Fed. Reg. at 24,685. And nothing in the statute

precludes ATF from exercising that authority to determine that the relevant point

comes before the frame or receiver is fully complete and is instead when the frame or
                                            8
        Case: 23-10718       Document: 9     Page: 11    Date Filed: 07/18/2023




receiver reaches a stage where it is readily convertible to a functional frame or

receiver. There is not, for example, any statutory language specifying that to be subject

to regulation, a “frame” or “receiver” must be “fully complete” or “operable.”

      To the contrary, the statutory text and structure make clear Congress’s intent to

permit ATF to adopt an interpretation like the one in the Rule. When defining

weapons, Congress has repeatedly made clear that non-operational weapons that are

either “designed to” or may “readily” be converted or restored to operational

weapons are included. See, e.g., 18 U.S.C. § 921(a)(3)(A) (“firearm”); 26 U.S.C.

§ 5845(b)-(d) (“machinegun,” “rifle,” “shotgun”). These provisions reflect the

reality—borne out by experience—that any other approach would permit persons to

circumvent statutory requirements by producing nearly complete weapons readily

converted into operational ones. In including a similar provision in the regulatory

definitions of “frame” and “receiver,” ATF acted consistently with those

congressional determinations and with the statutory scheme.

      And ATF’s interpretation generally accords with previous regulatory practice.

As the Rule explains, “ATF has long held that a piece of metal, plastic, or other

material becomes a frame or receiver when it has reached a critical stage of

manufacture,” which is “when it is brought to a stage of completeness that will allow

it to accept the firearm components to which it is designed for [sic], using basic tools

in a reasonable amount of time.” 87 Fed. Reg. at 24,685 (brackets in original)

(quotation omitted). The Rule’s clarification that partially complete frames or receivers
                                            9
         Case: 23-10718      Document: 9      Page: 12     Date Filed: 07/18/2023




constitute frames or receivers when they are designed to, or readily converted to,

house the applicable component accords with this previous approach while also

providing additional clarity to regulated entities by elaborating on language that has

long been used in similar contexts. Cf. id. at 24,663, 24,668, 24,685.

       In nevertheless concluding that the statute precludes this definition, the district

court primarily observed that Congress defined “firearm” to include weapons that are

“designed to or may readily be converted to” function as firearms but did not

specifically include a similar phrase in the provision of the statute stating that a

“firearm” includes the “frame” or “receiver” of a weapon. Add.25-28; see 18 U.S.C.

§ 921(a)(3)(A)-(B). That concern proceeds from the incorrect premise that

§ 921(a)(3)(B) defines “frame or receiver” and so some inference may be drawn from

the nonexistence of “readily” language in that provision. But that provision states only

that the term “firearm” includes “the frame or receiver of any such weapon.” See 18

U.S.C. § 921(a)(3)(B). It does not then provide any definition of “frame” or

“receiver,” leaving it to the agency to do so in interpreting the statute. It is implausible

to think Congress precluded ATF from following the statute’s lead and determining

that the terms “frame” and “receiver” include partially complete, disassembled, or

nonfunctional frames or receivers that may “readily” be converted to functional ones.

       Finally, although the court suggested (Add.28-30) that the Rule impermissibly

permits ATF to “regulate a component as a ‘frame or receiver’ even after ATF

determines that the component in question is not a frame or receiver,” that suggestion
                                            10
        Case: 23-10718       Document: 9     Page: 13        Date Filed: 07/18/2023




is incorrect. The Rule explains when a partially complete frame or receiver is a frame

or receiver within the meaning of the statute: when it is designed to or may readily be

converted to a functional one. And that result mirrors Congress’s approach in related

contexts. For example, as with ATF’s definitions, Congress has defined items that

may readily be converted into operational firearms or machineguns as “firearms” or

“machineguns” themselves. See 18 U.S.C. § 921(a)(3)(A); 26 U.S.C. § 5845(b).

      2. The Rule further clarifies that a “firearm” subject to regulation under the

statute encompasses “a weapon parts kit that is designed to or may readily be

completed, assembled, restored, or otherwise converted to expel a projectile by the

action of an explosive.” 87 Fed. Reg. at 24,727, 24,735; see 27 C.F.R. § 478.11. That

provision of the Rule is also consistent with the statute.

      The statutory text and structure, as well as precedent, make clear that ATF’s

determination that certain weapon parts kits constitute “firearms” is correct. Congress

defined “firearm” to include any weapon that “is designed to” or “may readily be

converted to expel a projectile.” 18 U.S.C. § 921(a)(3)(A). And a kit that includes parts

enabling a purchaser to readily assemble an operational firearm plainly satisfies the

statute’s definition: such an assemblage of parts is both “designed to” and “may

readily be converted to” function as a firearm. Indeed, plaintiffs have never suggested

any other purpose for which such a kit could possibly be designed.

      A weapon parts kit is essentially an unassembled firearm, and courts have long

recognized that even disassembled, or nonoperational, weapons constitute “firearms”
                                           11
         Case: 23-10718      Document: 9      Page: 14     Date Filed: 07/18/2023




for Gun Control Act purposes. For example, in United States v. Ryles, 988 F.2d 13, 16

(5th Cir. 1993), this Court held that a “disassembled” shotgun, which had the barrel

removed from the stock, constituted a “firearm” under a provision of the Sentencing

Guidelines reflecting the Act’s definition. This Court explained that “[b]ecause Ryles’

disassembled shotgun could have been ‘readily converted’ to an operable firearm,” it

was a “firearm” for purposes of the Guidelines enhancement. Id.; see also, e.g., United

States v. Stewart, 451 F.3d 1071, 1073 n.2 (9th Cir. 2006); United States v. Annis, 446 F.3d

852, 857 (8th Cir. 2006); United States v. Wick, 697 F. App’x 507, 508 (9th Cir. 2017)

(all similar). Moreover, any contrary interpretation would allow circumvention of the

statute, enabling felons and other prohibited persons to obtain readily assembled

unserialized firearms by purchasing weapon parts kits online and thwarting law

enforcement’s ability to trace firearms that are used in crimes.

       In nevertheless concluding that the statute does not permit ATF to regard

weapon parts kits as “firearms,” the district court primarily relied on its belief that the

statute “does not cover weapon parts, or aggregations of weapon parts.” Add.32. But

that attempt to carve aggregations of weapon “parts” out of the definition of

“firearm” fails given the statutory text. The statute makes clear that weapons that are

“designed to” or “may readily be converted to expel a projectile” are firearms,

regardless of whether the weapons are currently operable or assembled. 18 U.S.C.

§ 921(a)(3)(A). A weapon parts kit that both is designed to allow a purchaser to

assemble his own firearm and includes the parts necessary to allow such ready
                                            12
         Case: 23-10718      Document: 9     Page: 15     Date Filed: 07/18/2023




assembly plainly meets that definition. It was thus unnecessary (and would have been

superfluous) for Congress to separately regulate parts or aggregations of parts as such.

       Finally, the district court’s error is underscored by the irrational consequences it

engenders. There is no substantive distinction between a “disassembled” or

“nonfunctional” firearm—which all agree falls within the statute—and a weapon parts

kit. There is no indication in the text or statutory scheme that Congress intended to

allow such a kit to evade the licensure, background check, marking, or recordkeeping

requirements enumerated in the Gun Control Act. Such a result would create a

substantial loophole allowing anyone, including convicted felons, to purchase a

disassembled weapon that may be assembled in short order.

       B.     The District Court’s Vacatur Was Overbroad

       Independently, the government is likely to demonstrate that the district court’s

vacatur of the entire Rule was vastly overbroad. At the least, the court should have

limited any vacatur to the provisions of the Rule it held invalid and to the plaintiffs in

this case.

       1. As explained, in addition to the two provisions that the district court

addressed, the Rule contains a host of other provisions, generally aimed at ensuring

the continued effective implementation of the statutory licensing, background check,

serialization, and recordkeeping requirements. These include, for example, additional

unchallenged updates to the definition of “frame” and “receiver” to reflect modern


                                            13
         Case: 23-10718       Document: 9      Page: 16    Date Filed: 07/18/2023




firearms, amended regulations governing the marking of mufflers and silencers, and

an extension of preexisting recordkeeping requirements. See supra pp. 5-6.

       Where a court holds specific portions of a rule unlawful, those portions should

be severed from the remainder when doing so “will not impair the function of the

[rule] as a whole, and there is no indication that the regulation would not have been

passed but for its inclusion.” K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 294 (1988); see

also, e.g., Southwestern Elec. Power Co. v. EPA, 920 F.3d 999, 1033 (5th Cir. 2019)

(concluding that two “portions of the final rule” are “unlawful” and thus “vacat[ing]

those portions of the rule”). Here, ATF clearly intended that as much of the Rule as

possible go into effect. See 87 Fed. Reg. at 24,730 (severability clause). In nevertheless

vacating the entire Rule, the district court did not conclude that the remaining

provisions were unlawful or were inseparably intertwined with the two challenged

provisions—indeed, the court did not address the Rule’s severability clause or this

aspect of the scope of relief at all. In those circumstances, vacatur of the entire Rule

was impermissible.

       2. In addition, the district court erred in vacating the challenged provisions of

the Rule as applied to non-parties. In explaining that decision, the court did not

suggest that such relief was necessary to remedy any injuries to the plaintiffs or was

supported by equitable principles. Instead, the court appeared to believe that party-

specific vacatur would be “more akin to an injunction” than to “vacatur” and that

universal vacatur is thus “the default remedy” for APA violations. Add.37.
                                             14
           Case: 23-10718     Document: 9      Page: 17     Date Filed: 07/18/2023




       That is incorrect. Even assuming universal vacatur is authorized by the APA1,

this Court has treated such relief as a discretionary equitable remedy—not as

automatic or compelled. See, e.g., Cargill v. Garland, 57 F.4th 447, 472 (5th Cir. 2023)

(en banc) (plurality op.) (directing the district court to consider on remand remedies

more limited than universal vacatur); see also id. (“A plaintiff’s remedy must be tailored

to redress the plaintiff's particular injury.” (quoting Gill v. Whitford, 138 S. Ct. 1916,

1934 (2018))); Central & S.W. Servs., Inc. v. EPA, 220 F.3d 683, 692 (5th Cir. 2000)

(declining to enter vacatur in favor of remand). That makes sense; the APA makes

explicit that its provisions do not affect “the power or duty of the court” to “deny

relief on” any “equitable ground.” 5 U.S.C. § 702(1).

       The error in the district court’s universal remedy is underscored by its

comparison of vacatur to injunctions. The problems caused by universal injunctions

are well catalogued; they include that such injunctions conflict with principles of

Article III and equity, circumvent Rule 23’s class-action requirements, “incentivize

forum shopping,” “short-circuit the decisionmaking benefits of having different

courts weigh in on vexing questions of law,” and overburden courts’ “emergency

dockets.” See, e.g., Arizona v. Biden, 40 F.4th 375, 395-98 (6th Cir. 2022) (Sutton, C.J.,

concurring); cf. Morehouse Enters. v. ATF, Nos. 22-2812, 22-2854 (8th Cir. argued Mar.


       1
        Properly construed, the APA does not even permit “universal” vacatur, see
United States v. Texas, 143 S. Ct. 1964, 1980-85 (2023) (Gorsuch, J., concurring), but
the government recognizes that this Court’s precedent has condoned such relief in at
least some circumstances.
                                             15
         Case: 23-10718      Document: 9     Page: 18    Date Filed: 07/18/2023




14, 2023) (challenge to Rule). And those concerns apply equally to universal vacatur.

Texas, 143 S. Ct. at 1985-86 (Gorsuch, J., concurring). For those reasons, universal

vacatur should, at a minimum, be reserved for “truly extraordinary circumstances.” Id.

       Here, as explained, the district court identified no such extraordinary

circumstances supporting universal, rather than party-specific, relief. Thus, the Court

should have “limit[ed] the solution to the problem,” see NRDC v. Wheeler, 955 F.3d 68,

82 (D.C. Cir. 2020) (quotation omitted), by vacating the challenged provisions only as

to plaintiffs.

II.    The Remaining Factors Favor a Stay

       1. The government and the public will suffer irreparable injury if the vacatur

order is not stayed. As the Rule explains, unserialized firearms have proliferated in

recent years; in 2021, nearly 20,000 such firearms were reported to ATF as having

been recovered from potential crime scenes, and the United States has recently

brought many criminal cases “to counter the illegal trafficking of unserialized privately

completed and assembled weapons, the possession of such weapons by prohibited

persons, and other related Federal crimes.” 87 Fed. Reg. at 24,656-57. This

“proliferation of untraceable firearms severely undermines” law enforcement’s ability

to engage in the “integral” process of “determin[ing] where, by whom, or when” a

firearm used in a crime was manufactured and “to whom [it was] sold or otherwise

disposed,” id. at 24,656, 24,659, thereby impairing law enforcement’s ability to

apprehend violent individuals who may pose an ongoing threat to public safety.
                                           16
        Case: 23-10718       Document: 9     Page: 19    Date Filed: 07/18/2023




      The Rule not only enables law enforcement to better trace firearms used in

crimes but also helps ensure that those firearms do not end up in the hands of

individuals prohibited from possessing firearms—such as felons—in the first place.

Dealers are required to conduct a background check before selling a firearm to an

unlicensed person. The Rule clarifies that products like certain weapon parts kits and

partially complete frames or receivers must be sold in compliance with that

requirement, preventing (for example) violent felons from purchasing firearms over

the Internet. The Rule therefore, as ATF recognized, “increase[s] public safety by,

among other things, preventing prohibited persons from acquiring firearms.” 87 Fed.

Reg. at 24,654.

      The injuries to the government and the public from the district court’s vacatur

are heightened by the court’s vacatur of the entire Rule, rather than only the

challenged provisions. Perhaps most significantly, the Rule updates an outdated

regulatory definition, under a strict reading of which up to 90% of available firearms

have no single frame or receiver subject to regulation. The “practical result of that

strict reading” would be that “every individual part of almost all firearms in circulation

in the United States may be sold separately without compliance with the statutory”

requirements for firearm sales, such that “a felon or other prohibited person could

easily purchase” (for example) the upper and lower parts of an AR-variant firearm

online “and assemble a fully functional AR-variant firearm within a minute” with no

serial number. Add.51-52. The Rule also includes provisions specific to ensuring the
                                           17
        Case: 23-10718       Document: 9     Page: 20    Date Filed: 07/18/2023




consistent and proper marking of silencers and modular multipiece receivers. See

Add.46-47, Add.54.

      In addition, the Rule contains other provisions related to effective

implementation of the statutory recordkeeping requirements. For example, the Rule

requires licensees to mark unserialized firearms when they are taken into the licensee’s

inventory, so that the statutorily required acquisition and disposition records can be

effectively used “as a means of tracing or locating” the firearm. Add.53-54. And the

Rule requires licensees to maintain records through the end of the licensee’s business,

rather than (as the previous regulations permitted) allowing a licensee to destroy

records after 20 years. That updated requirement is critical to public safety;

“numerous older firearms” recovered at crime scenes could not be traced “because

the records were destroyed after 20 years.” Add.54-55. And if that provision is

vacated—even only while an appeal is pending—more than 14,000 licensees that have

been in business for 20 years or more may be permitted to destroy old records, with

no way for ATF to recover the information contained in those records. Id.

      In addition to harming public safety, vacatur of the Rule will substantially harm

the regulated community and ATF. Vacatur “has already created[] significant

confusion” among licensees. Add.55-56. For example, “ATF has already received

inquiries from members of the firearms industry, a trade association,” and others to “

seeking clarification whether they must now reverse their newly implemented business

practices” that reflect the Rule’s requirements. Id. And that confusion will “only
                                           18
         Case: 23-10718       Document: 9      Page: 21     Date Filed: 07/18/2023




increase if the [district court’s] ruling, or the scope of relief, is reversed on appeal,

which may require licensees to overhaul certain business practices twice in a short

period.” Id. In addition, various provisions of the Rule were “aimed at easing burdens

on the regulated community,” such that vacatur would harm the community by

reimposing those burdens. See Add.56-57. Finally, with respect to ATF, the agency has

devoted substantial resources to training and implementation related to the Rule.

Requiring the agency to adjust course would result in the required outlay of substantial

additional resources, and it would, particularly given the possibility of future reversal

on appeal, risk engendering significant confusion. See Add.58-59.

       2. By contrast, the plaintiffs will experience only minimal, if any, injuries from a

stay of the vacatur pending appeal. Even with respect to the provisions that plaintiffs

challenge, those provisions do not forbid the sale (or purchase) of any firearm,

weapon parts kit, or other item; instead, the Rule clarifies that certain items, like

ready-to-assemble kits, are “firearms” and so must be sold in accordance with the

Gun Control Act’s licensing, recordkeeping, and background check requirements.

Thus, plaintiffs who wish to purchase or sell regulated products may do so if they

comply with the Act.

       These requirements are not especially onerous. An entity that already possesses

a federal firearms manufacturer’s license is permitted to sell the firearms that it

manufactures at retail, see 27 C.F.R. § 478.41(b), subject to certain restrictions on

direct sales to out-of-state customers, 18 U.S.C. § 922(b)(3). Even for such customers,
                                             19
        Case: 23-10718       Document: 9     Page: 22    Date Filed: 07/18/2023




sales are permitted so long as the firearm is shipped to a licensee in the customer’s

state of residence, which can then transfer the firearm to the customer after fulfilling

background check and recordkeeping requirements. And an individual who wishes to

purchase one of the regulated products may continue to do so (assuming he is not

prohibited from possessing firearms); he may simply need to purchase the product

from an in-state seller or have the item transferred through an in-state licensee.

      In short, the Rule does not prohibit any plaintiff from selling or purchasing any

product; it simply clarifies that sales of certain products must be conducted in

accordance with statutory licensing, background check, serializing, and recordkeeping

requirements. Indeed, there are tens of thousands of federally licensed firearms

manufacturers and dealers around the country, all of whom manage to bear the costs

associated with those requirements when producing and selling firearms. And there

are, of course, many more firearms owners who similarly bear the minor costs

associated with statutory compliance when they purchase firearms from federal

firearms licensees. These kinds of incidental costs do not outweigh the substantial

harms to the government, the regulated community, and the public from vacatur of

the Rule.

      And that balancing is particularly clear with respect to the overbroad aspects of

the district court’s vacatur. No plaintiff has demonstrated any harm from the

provisions of the Rule other than those being challenged in this suit. And no plaintiff

could plausibly contend that relief to non-parties (other than customers of the entity
                                           20
        Case: 23-10718       Document: 9     Page: 23      Date Filed: 07/18/2023




plaintiffs) is necessary to remedy any Article III injury they themselves might allege.

But, as explained, such relief imposes significant harm on the government and the

public; a stay is thus warranted.

                                CONCLUSION

       For the foregoing reasons, the Court should grant a stay of the judgment

pending appeal. At a minimum, and in the alternative, the Court should stay the

vacatur to the extent that it vacates provisions of the Rule beyond those addressed by

the district court and as applied to non-parties.

                                                 Respectfully submitted,

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July 2023



                                            21
        Case: 23-10718      Document: 9      Page: 24    Date Filed: 07/18/2023




                          CERTIFICATE OF SERVICE

      I hereby certify that on July 18, 2023, I electronically filed the foregoing

response with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.

                                                 /s/ Sean R. Janda
                                                SEAN R. JANDA
        Case: 23-10718       Document: 9     Page: 25    Date Filed: 07/18/2023




                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 5186 words. This motion also complies

with the typeface and type-style requirements of Federal Rules of Appellate Procedure

27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word 2016 in

Garamond 14-point font, a proportionally spaced typeface. I further certify that this

emergency motion complies with the requirements of 5th Cir. R. 27.3 because it was

preceded by a telephone call to the Clerk’s Office and contact with opposing counsel

on July 18, 2023, advising of the intent to file this emergency motion. I further certify

that the facts supporting emergency consideration of this motion are true and

complete. I further certify under 5th Cir. R. 27.4 that all appellees who have

responded to the government’s request for their position oppose this motion.



                                                 /s/Sean R. Janda
                                                SEAN R. JANDA
        Case: 23-10718       Document: 9      Page: 26     Date Filed: 07/18/2023


                                      No. 23-10718


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


  Jennifer VanDerStok; Michael G. Andren; Tactical Machining, L.L.C., a limited liability
        company; Firearms Policy Coalition, Incorporated, a nonprofit corporation,
                                                Plaintiffs-Appellees,

   Blackhawk Manufacturing Group, Incorporated, doing business as 80 Percent Arms;
Defense Distributed; Second Amendment Foundation, Incorporated; Not An L.L.C., doing
                    business as JSD Supply; Polymer80, Incorporated,
                                                Intervenor Plaintiffs-Appellees,

                                               v.
  Merrick Garland, U.S. Attorney General; United States Department of Justice; Steven
Dettelbach, in his official capacity as Director of the Bureau of Alcohol, Tobacco, Firearms
         and Explosives; Bureau of Alcohol, Tobacco, Firearms, and Explosives,
                                                    Defendants-Appellants.


                     On Appeal from the United States District Court
                          for the Northern District of Texas


                       ADDENDUM TO EMERGENCY
                     MOTION FOR STAY PENDING APPEAL


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          Case: 23-10718           Document: 9         Page: 27        Date Filed: 07/18/2023




                                     TABLE OF CONTENTS

                                                                                                       Page

District Court Opinion (June 30, 2023) (Dkt. 227)...........................................................$GG1

District Court Judgment (July 5, 2023) (Dkt. 231) ......................................................... $GG39

District Court Order Granting Administrative Stay (July 18, 2023) (Dkt. 238) .........$GG41

Declaration of Matthew P. Varisco (July 14, 2023) (Dkt. 236-1).................................$GG42
        Case: 23-10718  Document: 9 Page: 28 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 1 of 38 PageID 4690



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                 §
                                              §
        Plaintiffs,                           §
                                              §
 v.                                           §
                                              §
 BLACKHAWK MANUFACTURING                      §
 GROUP INC., et al.,                          §      Civil Action No. 4:22-cv-00691-O
                                              §
        Intervenor-Plaintiffs,                §
                                              §
 v.                                           §
                                              §
 MERRICK GARLAND, et al.,                     §
                                              §
        Defendants.                           §

      MEMORANDUM OPINION & ORDER ON PARTIES’ CROSS-MOTIONS FOR
            SUMMARY JUDGMENT & MOTIONS TO INTERVENE

       Before the Court are Plaintiffs Jennifer VanDerStok, Michael G. Andren, Tactical

Machining, LLC, and Firearms Policy Coalition, Inc.’s (“Original Plaintiffs”)     Motion for

Summary Judgment (ECF No. 140), Brief (ECF No. 141), and Appendix in support (ECF No.

142), filed December 23, 2022; Intervenor-Plaintiff BlackHawk Manufacturing Group Inc. d/b/a

80 Percent Arms’ Motion for Summary Judgment (ECF No. 144), Brief (ECF No. 145), and

Appendix in support (ECF No. 146), filed December 23, 2022; Intervenor-Plaintiffs Defense

Distributed and The Second Amendment Foundation, Inc.’s Motion for Summary Judgment (ECF

No. 165) and Brief in support (ECF No. 166), filed January 12, 2023; Defendants’ Combined

Opposition to Original Plaintiffs’ and Intervenor-Plaintiffs’ Motions for Summary Judgment and

Cross-Motion for Summary Judgement (ECF No. 180), Brief (ECF No. 181), and Appendix in

Support (ECF No. 182), filed February 13, 2023; Original Plaintiffs’ Reply Brief in Support of

Their Motion for Summary Judgment and Response to Defendants’ Cross-Motion for Summary



                                           Add.1
        Case: 23-10718  Document: 9 Page: 29 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 2 of 38 PageID 4691



Judgment (ECF No. 191), filed March 6, 2023; Intervenor-Plaintiff BlackHawk Manufacturing

Group Inc.’s Reply Brief and Opposition to Defendants’ Cross-Motion for Summary Judgment

(ECF No. 192), filed March 6, 2023; Intervenor-Plaintiffs Defense Distributed and The Second

Amendment Foundation, Inc.’s Summary Judgment Response/Reply Brief (ECF No. 193), filed

March 6, 2023; and Defendants’ Reply Brief (ECF No. 204) and Appendix (ECF No. 205) in

support of their Motion for Summary Judgment, filed April 19, 2023. Also before the Court is the

Amici Curiae Brief of Gun Owners for Safety and Individual Co-Amici in Support of Defendants’

Opposition to Original Plaintiffs’ and Intervenor-Plaintiffs’ Motions for Summary Judgment and

in Support of Defendants’ Cross-Motion for Summary Judgment (ECF No. 187), filed February

23, 2023. Also before the Court are Defendants’ Supplemental Brief Regarding Rule 65(a)(2)

Consolidation and Plaintiffs’ Count I (ECF No. 132), filed December 5, 2022; Original Plaintiffs’

Brief (ECF No. 133), filed December 5, 2022; and Intervenor-Plaintiff BlackHawk Manufacturing

Group Inc.’s Brief (ECF No. 134), filed December 5, 2022.

       On January 18, 2023, the Court deferred ruling on putative intervenors’ motions to

intervene until summary judgment briefing concluded. See Order, ECF No. 172. Now ripe for

review are Not An LLC d/b/a JSD Supply’s Motion to Intervene (ECF No. 149) and Brief in

support (ECF No. 150), filed January 5, 2023; Defendants’ Opposition (ECF No. 207), filed April

27, 2023; Original Plaintiffs’ Opposition (ECF No. 212), filed May 10, 2023; and JSD Supply’s

Reply (ECF No. 213), filed May 11, 2023. Also before the Court are Polymer80’s Motion to

Intervene (ECF No. 157), Brief (ECF No. 158), and Appendix (ECF No. 159) in support; filed

January 9, 2023; Defendants’ Opposition (ECF No. 206), filed April 27, 2023; Original Plaintiffs’

Opposition (ECF No. 212), filed May 10, 2023; and Polymer80’s Reply (ECF No. 214), filed May

11, 2023.




                                               2
                                            Add.2
        Case: 23-10718  Document: 9 Page: 30 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 3 of 38 PageID 4692



         Also pending are Original Plaintiffs’ unopposed Motion for Leave to Provide Supplemental

Authority to Their Motion for Summary Judgment and Response to Defendants’ Cross-Motion for

Summary Judgment (ECF No. 197), filed March 24, 2023, which the Court GRANTS for good

cause shown; and JSD Supply’s proposed Motion for Injunction (ECF No. 151) and Brief in

support (ECF No. 152), filed January 5, 2023, and Defendants’ Notice Regarding the Same (ECF

No. 156), filed January 9, 2023, which the Court DENIES as prematurely filed.

         Having considered the briefing and applicable law, the Court GRANTS JSD Supply’s and

Polymer80’s motions to intervene on permissive grounds. For the reasons that follow, the Court

GRANTS Plaintiffs’ and Intervenors’ motions for summary judgment, DENIES Defendants’

cross-motion for summary judgment, and VACATES the Final Rule.

   I.       INTRODUCTION

         This case presents the question of whether the federal government may lawfully regulate

partially manufactured firearm components, related firearm products, and other tools and materials

in keeping with the Gun Control Act of 1968. Because the Court concludes that the government

cannot regulate those items without violating federal law, the Court holds that the government’s

recently enacted Final Rule, Definition of “Frame or Receiver” and Identification of Firearms, 87

Fed. Reg. 24,652 (codified at 27 C.F.R. pts. 447, 478, and 479), is unlawful agency action taken

in excess of the ATF’s statutory jurisdiction. On this basis, the Court vacates the Final Rule.

   II.      STATUTORY & REGULATORY BACKGROUND

         In 1934, Congress enacted the National Firearms Act (“NFA”) to authorize federal taxation

and regulation of certain firearms such as machineguns, short-barreled shotguns, and short-

barreled rifles. National Firearms Act of 1934, ch. 757, Pub. L. 73-474, 48 Stat. 1236, 1236. A few

years later, Congress enacted the Federal Firearms Act (“FFA”), which more broadly defined




                                                 3
                                             Add.3
           Case: 23-10718  Document: 9 Page: 31 Date Filed: 07/18/2023
    Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 4 of 38 PageID 4693



“firearm” and thereby authorized federal regulation of “any weapon . . . designed to expel a

projectile or projectiles by the action of an explosive. . . or any part of such weapon.” Federal

Firearms Act of 1938, ch. 850, Pub. L. No. 75-785, 52 Stat. 1250, 1250 (1938) (repealed 1968).

        Thirty years later, Congress enacted the Gun Control Act of 1968 (“GCA”), which

superseded the FFA’s regulation of firearms in interstate commerce. The GCA requires

manufacturers and dealers of firearms to have a federal firearms license.1 18 U.S.C. §§ 921, et seq.

Dealers must also conduct background checks before transferring firearms to someone without a

license, and they must keep records of firearm transfers. Id. §§ 922(t), 923(g)(1)(A).

        The GCA also redefines “firearm” more narrowly than the earlier sWDWXWH it superseded,

defining the term as: “(A) any weapon (including a starter gun) which will or is designed to or

may readily be converted to expel a projectile by the action of an explosive; (B) the frame or

receiver of any such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive

device.” Id. § 921(a)(3). But “[s]uch term does not include an antique firearm.” Id. Notably,

the GCA departs from the FFA’s prior definition of “firearm” by restricting federal authority

over “any part” of a firearm to only the “frame or receiver” of such firearm.

        Congress delegated authority to administer and enforce the GCA to the Attorney General

by authorizing him to “prescribe only such rules and regulations as are necessary to carry out the

provisions of this chapter.” Id. § 926(a). The Attorney General, in turn, delegated that authority to

the Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”). 28 C.F.R.

§0.130(a). Those who violate the federal firearms laws are subject to potential fines and

imprisonment. 18 U.S.C. § 924(a).




1
 A manufacturer or dealer authorized to transfer firearms under the Gun Control Act is known as a Federal
Firearms Licensee (“FFL”).


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                                                Add.4
           Case: 23-10718  Document: 9 Page: 32 Date Filed: 07/18/2023
    Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 5 of 38 PageID 4694



        In 1978, ATF promulgated a rule interpreting the phrase “frame or receiver,” which the

GCA does not define. The rule defined the “frame or receiver” of a firearm as “[t]hat part of a

firearm which provides housing for the hammer, bolt or breechblock, and firing mechanism, and

which is usually threaded at its forward portion to receive the barrel.” Title and Definition

Changes, 43 Fed. Reg. 13,531, 13,537 (Mar. 31, 1978). That definition remained in place until last

year.

        In April 2022, ATF published the Final Rule changing, among other things, the 1978

definition of “frame or receiver.” See Definition of “Frame or Receiver” and Identification of

Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (codified at 27 C.F.R. pts. 447, 478, and 479

(2022)).2 ATF split the phrase into two parts, assigning the term “frame” to handguns and the term

“receiver” to any firearm other than a handgun, such as rifles and shotguns. See 27 C.F.R.

§ 478.12(a)(1), (a)(2). ATF then defined the terms “frame” and “receiver” along the same lines as

the 1978 rule, though with updated, more precise technical terminology.3

        But ATF did not stop there. Rather than merely updating the terminology, ATF decided to

regulate partial frames and receivers. Under the new Final Rule, “[t]he terms ‘frame’ and

‘receiver’ shall include a partially complete, disassembled, or nonfunctional frame or receiver,



2
  The Final Rule took effect on August 24, 2022, in the midst of the parties’ initial briefing. See 27 C.F.R.
pts. 447, 478, and 479 (2022).
3
  Here are the two definitions, in full:
        (1) The term “frame” means the part of a handgun, or variants thereof, that provides
             housing or a structure for the component (i.e., sear or equivalent) designed to hold back
             the hammer, striker, bolt, or similar primary energized component prior to initiation of
             the firing sequence, even if pins or other attachments are required to connect such
             component (i.e., sear or equivalent) to the housing or structure.
        (2) The term “receiver” means the part of a rifle, shotgun, or projectile weapon other than
             a handgun, or variants thereof, that provides housing or a structure for the primary
             component designed to block or seal the breech prior to initiation of the firing sequence
             (i.e., bolt, breechblock, or equivalent), even if pins or other attachments are required
             to connect such component to the housing or structure.
27 C.F.R. § 478.12(a).


                                                     5
                                                 Add.5
           Case: 23-10718  Document: 9 Page: 33 Date Filed: 07/18/2023
    Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 6 of 38 PageID 4695



including a frame or receiver parts kit, that is designed to or may readily be completed, assembled,

restored, or otherwise converted to function as a frame or receiver.” Id. § 478.12(c). But “[t]he

terms shall not include a forging, casting, printing, extrusion, unmachined body, or similar article

that has not yet reached a stage of manufacture where it is clearly identifiable as an unfinished

component part of a weapon (e.g., unformed block of metal, liquid polymer, or other raw

material).” Id.

             Further, the Final Rule permits the ATF Director to consider extrinsic factors when

determining if an object is a frame or receiver. Specifically, “[w]hen issuing a classification, the

Director may consider any associated templates, jigs, molds, equipment, tools, instructions, guides,

or marketing materials that are sold, distributed, or possessed with [or otherwise made available

to the purchaser or recipient of] the item or kit.” Id. The Final Rule also amends ATF’s definition

of “firearm” to include weapon parts kits that are “designed to or may readily be completed,

assembled, restored, or otherwise converted to expel a projectile by the action of an explosive.”

Id. § 478.11 (definition of “firearm”).

      III.      PARTIES & PROCEDURAL BACKGROUND

             Individual Plaintiffs Jennifer VanDerStok and Michael Andren are Texas residents who

own firearm components that they intend to manufacture into firearms for personal, lawful use.4

They claim that the Final Rule prohibits them from directly purchasing products online that they

want to use to manufacture their own firearms.5 Now, to purchase these products in compliance

with the Final Rule, Individual Plaintiffs would have to route their purchases of the regulated

products through an FFL and incur associated transfer fees ($30 in Individual Plaintiffs’ case),

plus additional time and expense.


4
    VanDerStok Decl. 1, ECF No. 16-2; Andren Decl. 1, ECF No. 16-3.
5
    VanDerStok Decl. 2, ECF No. 16-2; Andren Decl. 2, ECF No. 16-3.


                                                   6
                                               Add.6
           Case: 23-10718  Document: 9 Page: 34 Date Filed: 07/18/2023
    Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 7 of 38 PageID 4696



        Tactical Machining, LLC manufactures and sells items that are subject to regulation under

the Final Rule.6 Over 90% of Tactical Machining’s business consists of selling items that

individuals can use to manufacture frames and receivers and to build functioning firearms.7

        The Firearms Policy Coalition, Inc. (“FPC”) is a non-profit organization dedicated to

promoting the Fonstitutional rights of American citizens through public education and legislative

and legal advocacy.8 In support of its educational and advocacy efforts, FPC owns and uses several

firearm parts and products that are subject to the Final Rule.9 FPC has hundreds of thousands of

members, donors, and supporters nationwide, many of whom are plaintiffs in this lawsuit.10

Individuals and organizations become FPC members by making a donation via the non-profit

corporation’s website.11 FPC seeks to bring this lawsuit on behalf of itself and its members.12

        Shortly before the Final Rule took effect in August 2022, Original Plaintiffs sued the U.S.

Attorney General, the Department of Justice, the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”), and the ATF Director over the legality of the Final Rule.13 Days later, the

Original Plaintiffs sought preliminary injunctive relief, which the Court granted on grounds that

they were likely to succeed on their claim that ATF exceeded its statutory authority in issuing the

Final Rule.14

        BlackHawk Manufacturing Group, Inc. is a manufacturer and retailer that sells products

newly subject to ATF’s Final Rule, with most of its revenue earned through sales of those


6
  Peters Decl. 1, ECF No. 16-1.
7
  Id. at 2.
8
  See generally Combs Decl., ECF No. 62-4.
9
  Id. ¶¶ 9–10.
10
   Id. ¶¶ 6–7. Individual Plaintiffs, Tactical Machining, LLC, BlackHawk Manufacturing Group, Inc. d/b/a
80 Percent Arms, and Defense Distributed are members of FPC. Id.
11
   Id. ¶ 8.
12
   Orig. Pls.’ Reply 5, ECF No. 191.
13
   See generally Compl., ECF No. 1.
14
   Orig. Pls.’ Mot. for Prelim. Inj., ECF No. 15; Mem. Opinion, ECF No. 56.


                                                   7
                                               Add.7
        Case: 23-10718  Document: 9 Page: 35 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 8 of 38 PageID 4697



products.15 Defense Distributed is a private defense contractor that primarily manufactures and

deals products now subject to the Final Rule.16 Defense Distributed is also a member of its co-

intervenor, the Second Amendment Foundation (“SAF”), a non-profit organization that promotes

and defends constitutional rights through educational and legal efforts.17 Like FPC, SAF brings

this suit on behalf of itself and its members.18 The Court subsequently allowed these parties to

intervene in the suit and granted BlackHawk and Defense Distributed their preliminary injunctions

on the same grounds as the Original Plaintiffs.19

        In the weeks after BlackHawk, Defense Distributed, and SAF were permitted to join the

lawsuit, and after summary judgment briefing had begun, movants Not An LLC d/b/a JSD Supply

and Polymer80, Inc. filed their pending motions to intervene.20 JSD Supply is a manufacturer and

distributor that earns most of its revenue through sales of products now subject to the Final Rule.21

Likewise, Polymer80, Inc. is a designer, manufacturer, and distributor of firearms and non-firearm

products.22 Through letters issued by ATF since the Final Rule’s enactment, Polymer80 learned

that some of its products are considered subject to the Final Rule and, if not afforded relief, that

its “corporate existence” is at stake.23

        Plaintiffs and Intervenor-Plaintiffs claim the Final Rule violates several of the

Administrative Procedure Act’s (“APA”) substantive and procedural requirements and various




15
   Lifschitz Decl. 6–8, ECF No. 62-5 ¶¶ 8, 11, 13.
16
   See generally Defense Distributed Compl., ECF No. 143.
17
   Id. ¶¶ 11–12.
18
   Id.
19
   Mem. Opinions, ECF Nos. 118, 188.
20
   JSD Supply Mot. to Intervene, ECF No. 149; Polymer80 Mot. to Intervene, ECF No. 157.
21
   JSD Supply Br. 4–5, ECF No. 150.
22
   Polymer80 Br. 1–3, ECF No. 158.
23
   See generally id.; id. at 4.


                                                    8
                                              Add.8
        Case: 23-10718  Document: 9 Page: 36 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 9 of 38 PageID 4698



constitutional guarantees.24 Though some raise unique claims, all contend that the Final Rule was

issued in excess of the agency’s statutory authority and the Court preliminarily agreed.25 Earlier in

the proceedings, the Court considered consolidating its hearing on the parties’ motions for

preliminary injunction with a trial on the merits under Federal Rule of Civil Procedure 65(a)(2).26

After review of the parties’ responsive briefing, however, the Court did not consolidate and now

considers Plaintiffs’ and Intervenor-Plaintiffs’ claims at the summary judgment stage.

        Thus, based on the Court’s prior decisions in this case, Defendants are preliminarily

enjoined from enforcing the Final Rule against Individual Plaintiffs VanDerStok and Andren; and,

with limited exception, Tactical Machining, BlackHawk, and Defense Distributed and the

companies’ customers. Now ripe for the Court’s review are the parties’ cross-motions for summary

judgment on all statutory and constitutional claims, as well as JSD Supply’s and Polymer80’s

motions to intervene. In part A below, the Court will resolve the motions to intervene before

turning to the parties’ cross-motions for summary judgment in part B.




24
   Orig. Pls.’ Am. Compl., ECF No. 93 (claiming Final Rule: Exceeds Statutory Authority (Count I),
Violates APA’s Notice and Comment Requirement (Count II), Violates APA’s Ban on Arbitrary and
Capricious Conduct (Count III), Violates Nondelegation Principles (Count IV), Violates Take Care Clause
(Count V), Violates Due Process (Count VI), Violates the First Amendment (Count VII)); see also
BlackHawk’s Compl., ECF No. 99 (claiming Final Rule: Exceeds Statutory Authority (Count I), Violates
Separation of Powers (Count II), is Unconstitutionally Vague (Count III), is Arbitrary and Capricious
(Count IV), Violates the APA’s Procedural Requirements (Count V), Violates the Nondelegation Doctrine
(VI), is Contrary to Constitutional Right, Power, Privilege, or Immunity (VII), Violates the Commerce
Clause (VIII), Unlawfully Chills First Amendment Speech (IX), Constitutes an Unconstitutional Taking
Without Just Compensation (Count X)); see also Defense Distributed, et al.’s Compl., ECF No. 143
(claiming Final Rule: Exceeds Statutory Authority (Count I), Violates the APA’s Procedural Requirements
(Counts II and IV), Violates Delegation Principles (Count III), Violates the Second Amendment (Count
V), Violates Due Process (Count VI)); see also JSD Supply’s Mem. 10, ECF No. 150 (expressing intent to
adopt Plaintiffs’ claims and legal theories in full); see also Polymer80’s Mem. 6–7, ECF No. 158
(expressing intent to adopt the current plaintiffs’ pending claims in full but to assert several additional
claims).
25
   Mem. Opinion, ECF No. 56.
26
   See Orders, ECF Nos. 33, 107.


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                                                Add.9
       Case: 23-10718  Document: 9 Page: 37 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 10 of 38 PageID 4699



     IV.      DISCUSSION

                                                      A.

     1. Legal Standard27

           Federal Rule of Civil Procedure 24(b) vests a district court with considerable discretion to

permit permissive intervention in a lawsuit, provided (1) the movant’s intervention is timely,

(2) the movant “has a claim or defense that shares with the main action a common question of law

or fact,” and (3) intervention will not “unduly delay or prejudice the adjudication of the original

parties’ rights.” FED. R. CIV. P. 24(b)(1)(B), (b)(3); United States v. City of New Orleans, 540 F.

App’x 380, 380–81 (5th Cir. 2013). With respect to the first element of “timeliness,” courts are to

consider four distinct factors:

           (1) the length of time between the would-be intervenor’s learning of his interest
               and his petition to intervene;
           (2) the extent of prejudice to existing parties from allowing late intervention;
           (3) the extent of prejudice to the would-be intervenor if the petition is denied; and
           (4) any unusual circumstances [weighing in favor of or against intervention].

In re Lease Oil Antitrust Litig., 570 F.3d 244, 247–48 (5th Cir. 2009) (quoting Stallworth v.

Monsanto Co., 558 F.2d 257 (5th Cir. 1977)). Like permissive intervention itself, any

determination of timeliness is committed to the court’s discretion. Id. at 248.

     Finally, in addition to the three permissive elements above, courts may also consider factors

such as “whether the intervenors’ interests are adequately represented by other parties” and

whether the intervenors “will significantly contribute to full development of the underlying factual

issues in the suit.” New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co. (“NOPSI”), 732 F.2d



27
   Original Plaintiffs and Defendants (the “opponents” for purposes of the following intervention analysis
only) contest the propriety of allowing additional intervenors to join the lawsuit by either intervention as of
right or permissive intervention. Because the Court concludes that permissive intervention under Rule 24(b)
is appropriate in this case, it does not reach the merits of intervention as of right under Rule 24(a)(2). FED.
R. CIV. P. 24.


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                                                 Add.10
       Case: 23-10718  Document: 9 Page: 38 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 11 of 38 PageID 4700



452, 472 (5th Cir. 1984) (citations omitted).

      2. Analysis

          The Court begins with timeliness, which requires consideration of four factors. In re Lease

Oil Antitrust Litig., 570 F.3d at 247. With respect to the first factor, opponents of intervention

argue that JSD Supply and Polymer80’s interventions are untimely because they “waited five

months after the commencement of this action to seek intervention”28 and that they were

presumably aware of the other “multiple competing lawsuits challenging the Final Rule filed

before [it] took effect on August 24, 2022.”29 In other words, they waited too long. But these

arguments fail because the relevant inquiry for timeliness is how soon the movant intervened in

the instant lawsuit after learning its interest was at risk, which may or may not occur when the

complaint is filed. Id. at 248. Moreover, a movant’s decision to forego intervention in another case

is irrelevant to the issue of timeliness in the instant case. See id. (“The first timeliness factor is

‘[t]he length of time during which the would-be intervenor actually knew or reasonably should

have known of his interest in the case before he petitioned for leave to intervene.”) (emphasis

added). Thus, “[t]he timeliness clock runs either from the time the applicant knew or reasonably

should have known of his interest [in the instant litigation] or from the time he became aware that

his interest would no longer be protected by the existing parties to the lawsuit.” Edwards v. City

of Houston, 78 F.3d 983, 1000 (5th Cir. 1996) (emphasis added) (citation omitted). Either way,

there “are no absolute measures of timeliness,” id., and any assessment of this factor is wholly

committed to the court’s discretion. In re Lease Oil Antitrust Litig., 570 F.3d at 248.




28
     Defs.’ Opp. to JSD Supply 3, ECF No. 207; Defs.’ Opp. to Polymer80 5, ECF No. 206.
29
     Orig. Pls.’ Opp. 6–7, ECF No. 212.


                                                   11
                                                Add.11
       Case: 23-10718  Document: 9 Page: 39 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 12 of 38 PageID 4701



        Here, the Original Plaintiffs commenced this suit and moved for injunctive relief in early

August 2022, shortly before the Final Rule took effect.30 Among those was Firearms Policy

Coalition, a nonprofit organization that sought to protect the interests of its entire member base

—of which JSD Supply is a part.31 On October 1, 2022, the Court concluded that FPC had not

demonstrated its associational right to seek injunctive relief on its members’ behalf.32 At that

point, JSD Supply recognized its interests would no longer be protected via its membership in

FPC and, within three months, it moved to intervene.33 Days later, on January 9, 2023,

Polymer80 similarly moved to intervene.34 Polymer80 says it sought to intervene only 13 days

after ATF issued letters identifying Polymer80’s products as violative of the Final Rule.35 And

while the Court will not consider evidence “outside the administrative record” in deciding the

merits of an APA claim, the Court is not aware of any rule that prohibits it from considering

extrinsic evidence for purposes of timeliness of intervention.36 Under these circumstances, the

Court is of the view that neither movant waited too long between the time it learned of its

interests in the suit and its motion to intervene.

        Next, the Court considers “the extent of prejudice to existing parties from allowing late

intervention.” In re Lease Oil Antitrust Litig., 570 F.3d at 247. The opponents claim permitting

intervention will prejudice the existing parties by delaying ultimate resolution of the case.37 But

here the proper inquiry is the extent to which the existing parties were prejudiced by the


30
   ECF Nos. 1, 15.
31
   Vinroe Decl. ¶ 3, ECF No. 213-1.
32
   Mem. Opinion 15, ECF No. 89.
33
   JSD Supply’s Mot., ECF No. 151.
34
   Polymer80’s Mot., ECF No. 157.
35
   Id. at 2–6.
36
   Orig. Pls.’ Opp. 7, ECF No. 212.
37
   Defs.’ Opp. to JSD Supply 3, 7, ECF No. 207; Defs.’ Opp. to Polymer80 5–6, 9–10, ECF No. 206 (noting
Polymer80 asserts ten causes of action separate from those of the existing plaintiffs); Original Pls.’ Opp. 8,
ECF No. 212.


                                                     12
                                                 Add.12
       Case: 23-10718  Document: 9 Page: 40 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 13 of 38 PageID 4702



intervenors’ delay in seeking to intervene, not how the existing parties may be inconvenienced

after the intervenors have successfully joined. Sierra Club v. Espy, 18 F.3d 1202, 1206 (5th Cir.

1994); Adam Joseph Res. v. CNA Metals Ltd., 919 F.3d 856, 865 (5th Cir. 2019). Delay of

proceedings, on its own, is not equivalent to prejudice. And the opponents to intervention have

offered no explanation about how a purported delay of proceedings would be prejudicial. Instead,

the opponents have claimed prejudice due to the resulting inconvenience associated with the

intervenors’ subsequent participation in the lawsuit. That is not enough. “Any potential prejudice

caused by the intervention itself is irrelevant, because it would have occurred regardless of whether

the intervention was timely.” In re Lease Oil Antitrust Litig., 570 F.3d at 248 (emphasis added)

(citation omitted). Moreover, as permitted by Rule 54, the Court finds no just reason it should

delay entry of summary judgment on the existing parties’ pending claims, which the intervenors

have expressly agreed to adopt.38 FED. R. CIV. P. 54(b). Thus, any prejudice that delayed

proceedings might cause the parties (though doubtful) is cured by this Court’s resolution and entry

of judgment now as to those shared claims.

        Third, the Court considers the “extent of prejudice to the would-be intervenor if the petition

is denied.” In re Lease Oil Antitrust Litig., 570 F.3d at 247–48. Denying intervention would

prejudice the would-be intervenors by delaying a favorable judgment, without which their

declining revenues would be prolonged, potentially forcing their dissolution.39 Polymer80


38
   JSD Supply’s Mem. 10, ECF No. 150 (expressing intent to adopt Plaintiffs’ claims and legal theories in
full); Polymer80’s Mem. 6–7, ECF No. 158 (expressing intent to adopt Plaintiffs’ summary judgment
briefing in full and to assert additional distinct claims). To the extent Polymer80 wishes to seek summary
judgment on its alternate claims, it may do so. That Defendants may be required to litigate the additional
claims is irrelevant, because they would be required to do so whether Polymer80 brought those claims in
this case or a separate case.
39
   Kelley Decl. ¶¶ 13–14, Polymer80 App. 6, ECF No. 159 (noting the “profound economic harm” that
Polymer80 has experienced following the Final Rule’s effective date); Vinroe Supp. Decl. ¶ 3, ECF No.
213-1 (noting JSD Supply’s revenues have dropped by more than 73% since the Final Rule’s effective
date).


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                                               Add.13
       Case: 23-10718  Document: 9 Page: 41 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 14 of 38 PageID 4703



concedes it would not be prejudiced if denied intervention in this case, provided its separate lawsuit

and preliminary injunction in that case is not dismissed.40 This conditional concession undoubtedly

minimizes its claims of prejudice in the instant suit. But because the “most important

consideration” in determining intervention is the prejudice to the parties opposing intervention—

and the Court finds that none exists—this concession is of little weight in the Court’s decision.

Rotstain v. Mendez, 986 F.3d 931, 938 (5th Cir. 2021).

        Fourth, the Court finds no “unusual circumstances” that weigh heavily for or against

intervention. In re Lease Oil Antitrust Litig., 570 F.3d at 248. Defendants contend that permitting

Polymer80’s intervention in this case while the company’s independent and duplicative suit is

pending would violate the rule against claim-splitting.41 That rule permits—but does not require—

a court to dismiss a second complaint that “alleg[es] the same cause of action as a prior, pending,

related action.” Friends of the Earth, Inc. v. Crown Cent. Petroleum Corp., 95 F.3d 358, 362 (5th

Cir. 1996) (authorizing courts to dismiss a second complaint whether it is duplicative of a

previously filed and still active suit). The claim-splitting rule is permissive, however, and does not

require the Court to take any action at all. Id. In any event, if the rule were applied here, the

appropriate course would be to dismiss Polymer80’s independent suit, which it filed after

attempting its initial intervention here.

        Nor are the other permissible timeliness factors—“whether the intervenors’ interests are

adequately represented by other parties” and whether the intervenors “will significantly contribute

to full development of the underlying factual issues in the suit”—particularly compelling. NOPSI,

732 F.2d at 472. Defendants argue intervention will not “significantly contribute to the full


40
   Polymer80’s Reply 6, ECF No. 214. After it sought intervention and learned resolution of that motion
would be deferred for several months, Polymer80 filed an independent lawsuit before this Court. See
Polymer80, Inc. v. Garland, Civil Action No. 4:23-cv-00029-O (N.D. Tex. Jan. 9, 2023).
41
   Defs.’ Opp. to Polymer80 3–4, 9, ECF No. 206.


                                                  14
                                              Add.14
       Case: 23-10718  Document: 9 Page: 42 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 15 of 38 PageID 4704



development of the underlying factual issues” because the existing parties have already “fully

developed and briefed their claims,” and intervenors therefore cannot meaningfully contribute.42

Elsewhere, however, Defendants point out that Polymer80 raises ten distinct causes of action, all

of which presumably require further development.43 In response, Polymer80 says its status as “the

industry leader in the design, manufacture, and distribution of the products that ATF” seeks to

regulate will significantly contribute to the factual development of the underlying issues in dispute

but offers no more than that bare assertion.44 For its part, JSD Supply offers no rebuttal to

Defendants. Thus, on the briefing before it, the Court finds that this factor is, at best, neutral for

purposes of intervention or weighs slightly against intervention. But given that the other factors

favor intervenors, the Court does not find this sufficient to bar intervention.

       Finally, the opponents also argue that JSD Supply and Polymer80 have other means of

asserting their interests.45 Indeed, Polymer80 has a separate suit currently pending before this

Court.46 But whether an intervenor has other adequate means of protecting its interests is not a

dispositive or necessary factor for the Court’s decision to grant permissive intervention. Though

the Court could require the parties to initiate or maintain their own lawsuits, the purpose of Rule

24 and the principle of judicial efficiency counsel against that course of action. See United States

v. Tex. E. Transmission Corp., 923 F.2d 410, 412 (5th Cir. 1991) (noting Rule 24’s goals of

achieving “judicial economies of scale by resolving related issues in a single lawsuit” while

preventing the single lawsuit “from becoming fruitlessly complex or unending”) (cleaned up).

Allowing intervention preserves judicial resources by preventing multiple parallel proceedings


42
   Defs.’ Opp. to Polymer80 9, ECF No. 206; Defs.’ Opp. to JSD Supply 7, ECF No. 207.
43
   Defs.’ Opp. to Polymer80 6 n.3, ECF No. 206.
44
   Polymer80’s Reply 8, ECF No. 214.
45
   Defs.’ Opp. to JSD Supply 6–7, ECF No. 207; Defs.’ Opp. to Polymer80 9–10, ECF No. 206; Original
Pls.’ Opp. 5–6, ECF No. 212.
46
   Polymer80, Inc. v. Garland, Civil Action No. 4:23-cv-00029-O (N.D. Tex. Jan. 9, 2023).


                                                 15
                                             Add.15
       Case: 23-10718  Document: 9 Page: 43 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 16 of 38 PageID 4705



from running concurrently in multiple courts or before multiple jurists when this Court is already

well-acquainted with the parties’ respective claims. Nor is there a need to divide lawsuits where,

as here, the would-be intervenors largely agree to adopt the claims and briefing schedule already

before the Court, which reduces the complexity of the case.

                                       *       *        *      *

        In sum, the Court holds that all requisite elements for permissive intervention—timeliness,

shared causes of action, and prejudice—weigh in favor of allowing the intervenors to join the

lawsuit. For these reasons, the Court GRANTS JSD Supply’s and Polymer80’s motions to

intervene on permissive grounds. Because JSD Supply and Polymer80 have agreed to adopt the

current Plaintiffs’ summary judgment briefing with respect to their shared claims, and because

those express intentions inform the Court’s discretionary decision to permit intervention here, the

intervenors are barred from separately moving for summary judgment or filing supplemental

briefing on any of the existing claims. However, Polymer80 may move for summary judgment on

its unique claims to the extent those claims are not mooted by the Court’s decision today.

                                                   B.

    1. Legal Standards

        Disputes arising under the APA are commonly resolved on summary judgment, where

district courts sit as an appellate tribunal to decide legal questions on the basis of the administrative

record. See Amin v. Mayorkas, 24 F.4th 383, 391 (5th Cir. 2022). Summary judgment is proper

where the Court finds that there are no genuine disputes of material fact and the movant is entitled

to judgment as a matter of law. FED. R. CIV. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322–

23 (1986). Upon review of agency action, district courts apply the APA, which requires the

reviewing court to “hold unlawful and set aside agency action” that the court finds to be “(A)




                                                   16
                                               Add.16
       Case: 23-10718  Document: 9 Page: 44 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 17 of 38 PageID 4706



arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B) contrary

to constitutional right, power, privilege, or immunity; (C) in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right; [and] (D) without observance of procedure

required by law.” 5 U.S.C. § 706(2).

       Among other procedural requirements, the APA requires agencies to provide “legislative”

rules (i.e., substantive regulations) for public notice and comment, id. § 553(b), and to ensure that

the final version of such a rule is a “logical outgrowth” of the agency’s initial regulatory proposal.

Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421, 447 (5th Cir. 2021). The APA’s arbitrary and

capricious standard requires that agency action be both “reasonable and reasonably explained,”

FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021), meaning agencies must not

“rel[y] on factors which Congress has not intended it to consider” or “entirely fail[] to consider an

important aspect of the problem” when issuing regulations. Motor Vehicle Mfrs. Ass’n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       Once a court determines the contested agency action falls short of the APA’s substantive

or procedural requirements, the reviewing court “shall” set aside the unlawful agency action. 5

U.S.C. § 706(2); Data Mktg. P’ship, LP v. United States Dep’t of Labor, 45 F.4th 846, 859 (5th

Cir. 2022).

   2. Article III Standing

       As a preliminary defense, Defendants argue that some of the plaintiffs, the Individual

Plaintiffs and the non-profit organizations, are not entitled to entry of summary judgment because

they lack standing to challenge the Final Rule. Because “standing is not dispensed in gross,” the

general rule is that each plaintiff must demonstrate a personal stake in the outcome of the case or

controversy at bar. Town of Chester v. Laroe Ests., Inc., 137 S. Ct. 1645, 1650 (2017). This means




                                                 17
                                             Add.17
       Case: 23-10718  Document: 9 Page: 45 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 18 of 38 PageID 4707



each plaintiff to a case “must demonstrate standing for each claim he seeks to press and for each

form of relief that is sought.” Id. (cleaned up). When there are multiple plaintiffs or intervenors to

a lawsuit that request the same form of relief, however, only “one plaintiff must have standing to

seek each form of relief requested.” Id. at 1651 (emphasis added).

        Here, among other requested forms of relief, all plaintiffs and intervenors—including those

litigants whose standing is not in question—ask this Court to declare unlawful and set aside the

Final Rule.47 Accordingly, the Court could address the legality of the Final Rule regardless of

whether the Individual Plaintiffs and the non-profit organizations have standing. Nevertheless,

because these parties will not be entitled to unique forms of relief (e.g., party-specific injunctive

relief or attorneys’ fees) without independently demonstrating standing, the Court addresses the

individuals’ and the organizations’ standing before turning the merits of their claims.48

        To establish Article III standing, a plaintiff must show it has suffered (1) an injury-in-fact

(2) that is fairly traceable to the defendants’ conduct, and (3) is likely to be redressed by a favorable

judicial decision. Id. at 1650. As the parties invoking federal jurisdiction, plaintiffs bear the burden

of proving each element of standing. Lujan v. Defs. Of Wildlife, 504 U.S. 555, 561 (1992).

               i. Individual Plaintiffs

        First, Defendants argue that Individual Plaintiffs VanDerStok and Andren cannot

demonstrate standing because “the only purported injury they plausibly invoke—a $30 transfer fee

that certain FFLs purportedly would charge them to facilitate a firearm purchase—is not fairly


47
   Orig. Pls.’ Am. Compl. 57, ECF No. 93 (seeking vacatur, injunctive relief, attorneys’ fees and costs, etc.);
BlackHawk’s Compl. 33, ECF No. 99 (same); Defense Distributed, et al.’s Compl. 27, ECF No. 143 (same);
JSD Supply’s Proposed Compl. 29–30, ECF No. 149-2 (same); Polymer80’s Proposed Compl. 43–44, App.
101–02, ECF No. 159 (same).
48
   To be entitled to attorneys’ fees, a plaintiff must independently establish standing and prevail on the
merits of an underlying claim. See, e.g., Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 107
(1998) (“An interest in attorney’s fees is insufficient to create an Article III case or controversy where none
exists on the merits of the underlying claim.”) (cleaned up) (emphasis added).


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                                                 Add.18
       Case: 23-10718  Document: 9 Page: 46 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 19 of 38 PageID 4708



traceable to the Rule.”49 Defendants contend that an FFL’s independent decision to charge

Individual Plaintiffs a transfer fee to facilitate purchase of newly regulated products bears no causal

relationship to the Final Rule, and is therefore not fairly traceable to Defendants’ conduct.50 But

Defendants are wrong on this point.

       While the Supreme Court has declined to endorse theories of standing “that rest on

speculation about the decisions of independent actors,” where a plaintiff can make a showing of

de facto causality, standing’s traceability element is satisfied. Dep’t of Com. v. New York, 139 S.

Ct. 2551, 2566 (2019) (emphasis added). Here, Individual Plaintiffs’ theory of standing is not

speculative. Instead, it relies “on the predictable effect of Government action on the decisions of

third parties.” Id. Individual Plaintiffs have confirmed that the FFLs they would use to facilitate

their purchases will in fact charge a transfer fee.51 And it is highly predictable that FFLs would

charge for this service, particularly when faced with the prospect of an influx of customers who

need to make purchases of certain products through an FFL as a result of a recent government

mandate. Absent the requirements of the Final Rule, the Individual Plaintiffs would not purchase

the regulated products through an FFL and would therefore not incur an associated transfer fee.

This is sufficient to show de facto causality. Thus, the Court is satisfied that Individual Plaintiffs’

purported injury is fairly traceable to Defendants’ actions.

       Even if the FFLs’ independent decision to charge a transfer fee broke the chain of

causation, Individual Plaintiffs have an alternative basis for standing that Defendants largely

ignore. In a footnote, Defendants dismiss Individual Plaintiffs’ other alleged injury—the threat of

criminal prosecution should they violate the Rule—as simply “not credible.”52 They say the risk


49
   Defs.’ Reply 2, ECF No. 204; Defs.’ Cross-Mot. 11–12, ECF No. 181.
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   Defs.’ Reply 2–3, ECF No. 204.
51
   VanDerStok Decl. ¶¶ 2–6, ECF No. 62-1; Andren Decl. ¶¶ 2–6, ECF No. 62-2.
52
   Defs.’ Reply 2 n.3, ECF No. 204.


                                                  19
                                              Add.19
       Case: 23-10718  Document: 9 Page: 47 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 20 of 38 PageID 4709



of criminal prosecution is not a cognizable injury because the costs Individual Plaintiffs would

have to incur to avoid criminal liability “are merely de minimis.”53

        Here, however, Defendants conflate the injury analysis required for Article III standing

with the irreparable harm analysis required for a preliminary injunction.54 It is true that, for

purposes of injunctive relief, a plaintiff must allege an irreparable injury that is more than merely

de minimis. See Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir. 2012).

But Defendants offer no authority for the proposition that a plaintiff’s alleged injury must pass a

certain threshold to be cognizable for purposes of Article III. Nor is the Court aware of any such

requirement.

        It is well established that a credible threat of government action, on its own, provides a

plaintiff with a sufficient basis for bringing suit. MedImmune, Inc. v. Genentech, Inc., 549 U.S.

118, 128–29 (2007). This remains true even if a plaintiff takes steps to protect themselves from

prosecution. As the Supreme Court has made clear, a “plaintiff's own action (or inaction) in failing

to violate the law eliminates the imminent threat of prosecution, but nonetheless does not eliminate

Article III jurisdiction.” Id. Thus, even if Individual Plaintiffs in this case ameliorated the threat of

government enforcement by making their purchases through an FFL and paying the associated fee

(action), or by simply refraining from purchasing the regulated products they want to buy




53
   Id. (““Plaintiffs do not face a ‘Hobson’s choice’ whether to comply with a regulation or risk criminal
prosecution when the costs of compliance are merely de minimis.”).
54
   Plaintiffs respond that “[t]he Agencies provide no argument as to . . . how Individual Plaintiffs could
suffer irreparable harm [as the Court previously held] and yet not have standing.” Pls.’ Reply 3, ECF No.
191. But irreparable harm for purposes of injunctive relief and Article III injury-in-fact are not equivalents.
And Plaintiffs offer no authority indicating that a showing of irreparable harm for purposes of injunctive
relief automatically satisfies Article III’s injury-in-fact requirement. Moreover, many courts address these
issues separately, confirming that the analysis is distinct. See, e.g., Memphis A. Philip Randolph Inst. v.
Hargett, 978 F.3d 378 (6th Cir. 2020) (analyzing Article III standing and irreparable harm for purposes of
injunctive relief separately); East Bay Sanctuary v. Trump, 932 F.3d 742, 762 (9th Cir. 2018) (same); Geer’s
Ranch Café v. Guzman, 540 F. Supp. 3d 638 (N.D. Tex. 2021) (same) (O’Connor, J.).


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                                                 Add.20
       Case: 23-10718  Document: 9 Page: 48 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 21 of 38 PageID 4710



(inaction), they do not lose their right to challenge the Final Rule.55 Defendants offer no argument

regarding the traceability or redressability of this alternative injury. Nor could they. Thus, the

Court holds that Individual Plaintiffs’ threat of civil or criminal penalties is a cognizable injury

under Article III and that, on this basis also, they have demonstrated standing to pursue their

claims.

               ii. Non-profit Organizations

          Second, Defendants claim the organizations—Firearms Policy Coalition and the Second

Amendment Foundation—have failed to demonstrate associational (or organizational) standing.

The associational standing doctrine permits a traditional membership organization “to invoke the

court’s [injunctive or declaratory] remedial powers on behalf of its members.” Warth v. Seldin,

422 U.S. 490, 515 (1975). To do so, the organization must satisfy a three-prong test showing that

“(a) its members would otherwise have standing to sue in their own right; (b) the interests it seeks

to protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.” Students for Fair

Admissions, Inc. v. President and Fellows of Harvard College, No. 20-1199, --- S.Ct. ---, 2023

WL 4239254, at *8 (U.S. June 29, 2023) (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432

U.S. 333, 343 (1977)).

          Defendants do not meaningfully contend that FPC and SAF cannot satisfy the three-prong

Hunt test.56 Instead, they challenge the non-profits’ statuses as “traditional membership


55
   For the same reasons, Defendants’ argument that FPC cannot establish Article III standing in its own
right fails. See Defs.’ Reply 3 n.4. As FPC avers, it owns and uses products now subject to the Final Rule
and, though a corporate entity, will suffer the same financial injury as Individual Plaintiffs if required to
comply and the same threat of prosecution for non-compliance. Orig. Pls.’ Br. 50, ECF No. 141; Combs
Decl. ¶¶ 9–11, ECF No 62-4.
56
   Defs.’ Br. 13, ECF No. 181; Defs.’ Reply 3–4, ECF No. 204. Defendants simply point to the Court’s
earlier conclusion that, at the preliminary injunction stage, FPC did not carry its burden to demonstrate
associational standing. Defs.’ Br. 13, ECF No. 181 (citing Mem. Opinion 12–15, ECF No. 89).


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                                                 Add.21
       Case: 23-10718  Document: 9 Page: 49 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 22 of 38 PageID 4711



organizations” arguing that, because they cannot satisfy this threshold requirement, they cannot

establish associational standing. Defendants contend that, under Fifth Circuit precedent, an

organization can only prove itself a “traditional membership organization” if it provides evidence

that its members both fund and control the organization’s activities. By contrast, FPC and SAF

contend that they are traditional membership organizations because they have members nationwide

who, by donating to their organizations, have “joined voluntarily to support [the non-profits’]

mission[s].”57 Students for Fair Admissions, Inc. v. University of Texas at Austin, 37 F.4th 1078,

1084 (5th Cir. 2022). Under the Supreme Court’s recent decision in Students for Fair Admissions,

Inc. v. President and Fellows of Harvard College, that is all the evidence that is required. 2023

WL 4239254, at *9. “Where, as here, an organization has identified members and represents them

in good faith, [the Supreme Court’s decisions] do not require further scrutiny into how the

organization operates.” Id. at 9.

        As Defendants concede, the Court has already recognized that SAF satisfies the Hunt test.58

Based on its summary judgment briefing, so does FPC. First, several of FPC’s members—

Individual Plaintiffs, Tactical Machining, and BlackHawk, who are all parties to this suit—have

standing to sue in their own right. Second, FPC’s organizational purpose to advocate for their

members’ individual liberties, separation of powers, and limited government are clearly germane

to this suit challenging Defendants’ asserted authority to regulate the manufacture of personal

firearms.59 Third, because FPC seeks equitable remedies of declaratory relief and vacatur of the

Final Rule, there is no need for FPC’s individual members to participate in the lawsuit.



57
   Orig. Pls.’ Reply 8, ECF No. 191; Combs Decl. ¶ 8, ECF No. 62-4 (describing the voluntary and mission-
driven membership base of FPC); Defense Distributed, et al.’s Reply 2, ECF No. 193; Gottlieb Decl. ¶ 2,
ECF No. 166-2 (describing SAF’s national membership base).
58
   Order 5, ECF No. 137.
59
   See generally Combs Decl., ECF No. 62-4; Orig. Pls.’ Br. 49, ECF No. 144.


                                                   22
                                               Add.22
       Case: 23-10718  Document: 9 Page: 50 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 23 of 38 PageID 4712



                                       *       *        *      *

       In sum, the Court holds that Individual Plaintiffs and FPC—in its own right—have

standing to pursue their claims for relief. Furthermore, FPC and SAF have demonstrated

associational standing and may pursue relief on their members’ behalf. Because Defendants do

not contest the standing of Tactical Machining, BlackHawk, or Defense Distributed, these

parties are similarly entitled to pursue their respective claims for relief.

   3. Statutory Claims

       The Original Plaintiffs and Intervenors (collectively “Plaintiffs” going forward) attack the

Final Rule on a host of statutory and constitutional grounds. However, there exists an ordinary rule

“that a federal court should not decide federal constitutional questions where a dispositive

nonconstitutional ground is available.” Hagans v. Lavine, 415 U.S. 528, 547 (1974); see also New

York City Transit Auth. v. Beazer, 440 U.S. 568, 582 (1979) (“If there is one doctrine more deeply

rooted than any other in the process of constitutional adjudication, it is that we ought not to pass

on questions of constitutionality . . . unless such adjudication is unavoidable. Before deciding the

constitutional question, it was incumbent on [the lower] courts to consider whether the statutory

grounds might be dispositive.”) (cleaned up). Thus, “if a case raises both statutory and

constitutional questions, the inquiry should focus initially on the statutory question[s]. . . . If the

lower court finds that statutory ground dispositive, resolution of the constitutional issue will be

obviated.” Jordan v. City of Greenwood, Miss., 711 F.2d 667, 669 (5th Cir. 1983). Because the

Court concludes that the ATF has clearly and without question acted in excess of its statutory

authority, and that this claim is dispositive, the Court declines to address the constitutional

questions presented.




                                                   23
                                              Add.23
       Case: 23-10718  Document: 9 Page: 51 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 24 of 38 PageID 4713



        The Court begins with Plaintiffs’ shared claim that, in attempting to regulate products that

are not yet a “frame or receiver,” and therefore not a “firearm” for purposes of the Gun Control

Act, the ATF has acted in excess of its statutory jurisdiction. 5 U.S.C. § 706(2)(C). As they argued

at the preliminary injunction stage, Plaintiffs maintain that the Final Rule exceeds ATF’s statutory

authority in two primary ways. First, they argue that the Final Rule expands ATF’s authority over

parts that may be “readily converted” into frames or receivers, when Congress limited ATF’s

authority to “frames or receivers” as such. Second, they argue that the Final Rule unlawfully treats

component parts of a weapon in the aggregate (i.e., a weapon parts kit) as the equivalent of a

firearm.60 The Court agrees with Plaintiffs.

        Basic principles of statutory interpretation decide this case. “In statutory interpretation

disputes, a court’s proper starting point lies in a careful examination of the ordinary meaning and

structure of the law itself.” Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019).

“Statutory language ‘cannot be construed in a vacuum. It is a fundamental canon of statutory

construction that the words of a statute must be read in their context and with a view to their place

in the overall statutory scheme.’” Sturgeon v. Frost, 577 U.S. 424, 438 (2016) (quoting Roberts v.

Sea-Land Services, Inc., 556 U.S. 93, 101 (2012)). If the disputed statutory language is

unambiguous, as it is here, “the sole function of the courts is to enforce [the law] according to its

terms.” United States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989) (cleaned up). The Court




60
  Orig. Pls.’ Supp. Br. Regarding Count I, ECF No. 133; see also Defense Distributed, et al.’s Br. in Support
of Mot. for Summ. J., ECF No. 166 (joining and adopting Original Plaintiffs’ Counts and summary
judgment briefing on behalf of Defense Distributed and Second Amendment Foundation). BlackHawk
offers additional arguments in support of its claim that the agency has exceeded its statutory authority, some
of which are closely related to the arguments before the Court and other that are novel. See generally
BlackHawk’s Supp. Br. Regarding Count I 7–10, ECF No. 134 (e.g., arguing that the Final Rules
requirement that FFLs retain records indefinitely exceeds the agency’s statutory authority). But because
Plaintiffs’ primary arguments in support of their shared Counts I are dispositive, the Court need not consider
each of the alternative grounds for reaching the same result.


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                                                 Add.24
       Case: 23-10718  Document: 9 Page: 52 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 25 of 38 PageID 4714



begins with “the assumption that the words were meant to express their ordinary meaning.” United

States v. Kaluza, 780 F.3d 647, 659 (5th Cir. 2015) (quoting Bouchikhi v. Holder, 676 F.3d 173,

177 (5th Cir. 2012)). If a statute “includes an explicit definition,” however, the Court “must follow

that definition, even if it varies from a term’s ordinary meaning.” Digit. Realty Tr., Inc. v. Somers,

138 S. Ct. 767, 776 (2018) (cleaned up).

              i.    Parts that may become receivers are not receivers.

        Congress carefully defined its terms in the Gun Control Act. The primary definition of

“firearm” in the GCA contains three parts: “any weapon (including a starter gun) which [1] will or

[2] is designed to or [3] may readily be converted to expel a projectile by the action of an

explosive.” 18 U.S.C. § 921(a)(3)(A). Under this primary definition, a firearm is first and foremost

a weapon. Underscoring that point, Congress explicitly named starter guns in the definition

because starter guns are not obviously weapons. Then, because weapon parts also are not

“weapons,” Congress created a secondary definition covering specific weapon parts: “the frame

or receiver of any such weapon.” Id. § 921(a)(3)(B).61 Notably, Congress did not cover all weapon

parts—only frames and receivers. And only the frames and receivers “of any such weapon” that

Congress described in its primary definition.

        Because Congress did not define “frame or receiver,” the words receive their ordinary

meaning. See 18 U.S.C § 921 (defining other terms); Kaluza, 780 F.3d at 659. Contrary to

Defendants’ assertion, in an interpretive dispute over a statutory term’s meaning, the Court does

not simply “leav[e] the precise definition of that term to the discretion and expertise of ATF.”62


61
   The Gun Control Act defines “firearm” in full as: “(A) any weapon (including a starter gun) which will
or is designed to or may readily be converted to expel a projectile by the action of an explosive; (B) the
frame or receiver of any such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive
device.” Id. § 921(a)(3).
62
   Defs.’ Supp. Br. Regarding Count I 9, ECF No. 132 (citing no supporting authority for the proposition
that agency’s definition of an unambiguous statutory term controls).


                                                   25
                                               Add.25
       Case: 23-10718  Document: 9 Page: 53 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 26 of 38 PageID 4715



Nor is the Court bound by the agency’s definition of an unambiguous statutory term, even if the

ATF has “long provided regulations defining . . . ‘frame or receiver.’”63

        Plaintiffs do not take issue with ATF’s 1978 definition of “frame or receiver.” This is

because, as Defendants themselves acknowledge, ATF’s prior regulatory definitions have been

“consistent with common and technical dictionary definitions.”64 Statutory construction entails

“follow[ing] the plain and unambiguous meaning of the statutory language, [and] interpreting

undefined terms according to their ordinary and natural meaning and the overall policies and

objectives of the statute. In determining the ordinary meaning of terms, dictionaries are often a

principal source.” NPR Invs., L.L.C. ex rel. Roach v. United States, 740 F.3d 998, 1007 (5th Cir.

2014) (cleaned up). Near the time of the GCA’s enactment in 1968, Webster’s Dictionary defined

“frame” as “the basic unit of a handgun which serves as a mounting for the barrel and operating

parts of the arm” and “receiver” as “the metal frame in which the action of a firearm is fitted and

which the breech end of the barrel is attached.” Webster’s Third International Dictionary 902,

1894 (1971).65 ATF’s prior regulatory definition, which defined “frame or receiver” as “[t]hat part

of a firearm which provides housing for the hammer, bolt or breechblock, and firing mechanism,

and which is usually threaded at its forward portion to receive the barrel,” tracks that common

definition.66 Title and Definition Changes, 43 Fed. Reg. at 13,537.




63
   Defs.’ Supp. Br. Regarding Count I 6–7, ECF No. 132. Even if the phrase “frame or receiver” was
ambiguous, the Court would not defer to ATF’s interpretation under Chevron because Defendants have not
invoked the doctrine in this case, because the statute in question imposes criminal penalties, and because
the Final Rule is a reversal of the ATF’s prior interpretive position. Cargill v. Garland, 57 F.4th 447, 464–
68 (5th Cir. 2023); Defs.’ Opp. to Pls.’ Mot. for Prelim. Inj. 17–18, ECF No. 41.
64
   Defs.’ Supp. Br. Regarding Count I 9, ECF No. 132 (emphasis added).
65
   See also John Olson, Olson’s Encyclopedia of Small Arms 72 (1985) (defining a receiver as “the part of
a gun that takes the charge from the magazine and holds it until it is seated in the breech. Specifically, the
metal part of a gun that houses the breech action and firing mechanism”).
66
   ATF’s 1968 definition of “frame or receiver” was identical. Commerce in Firearms and Ammunition, 33
Fed. Reg. 18,555, 18,558 (Dec. 14, 1968).


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                                                 Add.26
       Case: 23-10718  Document: 9 Page: 54 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 27 of 38 PageID 4716



       But the Final Rule’s amended definition of “frame or receiver” does not accord with the

ordinary meaning of those terms and is therefore in conflict with the plain statutory language.

Departing from the common understanding of “frame or receiver,” Defendants now assert ATF’s

authority to regulate “partially complete, disassembled, or nonfunctional frame[s] or receiver[s]”

that are “designed to or may readily be completed, assembled, restored, or otherwise be converted

to function as a frame or receiver.” 27 C.F.R. § 478.12(c). The parts must be “clearly identifiable

as an unfinished component part of a weapon.” Id. In deciding whether something is a partially

complete frame or receiver, ATF may consider other materials such as molds, instructions, and

marketing materials “that are sold, distributed, or possessed with the item.” Id.

       As this Court has previously discussed, the definition of “firearm” in the Gun Control Act

does not cover all firearm parts. It covers specifically “the frame or receiver of any such weapon”

that Congress defined as a firearm. 18 U.S.C. § 921(a)(3)(B). And that which may become or may

be converted to a functional receiver is not itself a receiver. Congress could have included firearm

parts that “may readily be converted” to frames or receivers, as it did with “weapons” that “may

readily be converted” to fire a projectile. Id. § 921(a)(3)(A), (a)(4)(B). But it omitted that language

when talking about frames and receivers. “[W]hen Congress includes particular language in one

section of a statute but omits it in another section of the same Act, it is generally presumed that

Congress acts intentionally and purposely in the disparate inclusion or exclusion.” Collins v.

Yellen, 141 S. Ct. 1761, 1782 (2021) (citation and internal quotation marks omitted). Likewise,

when Congress uses a phrase in one part of a definition and excludes that phrase from another part

of the very same definition, courts should give effect to Congress’s deliberate exclusion.

       Congress excluded other adjectives that ATF adds to its definition. Specifically, the Final

Rule covers “disassembled” and “nonfunctional” frames and receivers. 27 C.F.R. § 478.12(c).




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                                              Add.27
       Case: 23-10718  Document: 9 Page: 55 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 28 of 38 PageID 4717



Congress’s definition does not. Again, compare the language in Congress’s primary definition of

“firearm” to its secondary definition covering frames and receivers. The primary definition of

“firearm” includes any “weapon” that “is designed to” fire a projectile. 18 U.S.C. § 921(a)(3)(A).

That language covers disassembled, nonfunctional, and antique firearms because they are

“designed” to fire projectiles even if they are practically unable to do so. But Congress wanted to

exclude antiques, so it explicitly said the “term does not include an antique firearm,” once again

demonstrating awareness of the scope of the language it chose. Id. § 921(a)(3). In contrast,

Congress did not choose to cover firearm parts that are “designed” to be frames or receivers—that

is, incomplete, nonfunctional frames or receivers. “That omission is telling,” particularly when

Congress used the more expansive terminology in the same definition. Collins, 141 S. Ct. at 1782.

In sum, ATF’s new definition of “frame or receiver” in 27 C.F.R. § 478.12(c) is facially unlawful

given its conflict with the ordinary meaning of those terms as read within their immediate statutory

context. Sturgeon, 577 U.S. at 438 (cleaned up).

          The Court’s earlier acknowledgement that ATF does indeed have discretion to decide

“whether a particular component is a frame or receiver” based upon that component’s “degree of

completeness” does not alter this analysis.67 Relying on the Court’s acknowledgement, Defendants

claim that is all the Final Rule purports to do: “provide[] more specific guidance about the criteria

ATF uses in making th[e] determination” whether a component is a frame or receiver.68 But that

is not all the regulation does. Rather, the Final Rule sets outs the criteria ATF will use to determine

whether a component “may readily be . . . converted to function” as a frame or receiver. 27 C.F.R.

§ 478.12(c) (emphasis added). As the Court previously explained, the issue in this case is whether

ATF may properly regulate a component as a “frame or receiver” even after ATF determines that


67
     Mem. Opinion 10, ECF No. 56.
68
     Defs.’ Supp. Br. Regarding Count I 10, ECF No. 132.


                                                    28
                                                Add.28
       Case: 23-10718  Document: 9 Page: 56 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 29 of 38 PageID 4718



the component in question is not a frame or receiver.69 It may not. Logic dictates that a part cannot

be both not yet a receiver and receiver at the same time. Defendants’ reliance on that logical

contradiction is fatal to their argument.

       Predictably, Defendants disagree with the Court’s interpretation of how the regulation

operates and argue that “the Final Rule’s amended definition treats a component as a frame or

receiver only when ATF has determined that the component is a frame or receiver.”70 Again, a

plain reading of the Final Rule’s text belies this objection.71 A part that has yet to be completed or

converted to function as frame or receiver is not a frame or receiver. ATF’s declaration that a

component is a “frame or receiver” does not make it so if, at the time of evaluation, the component

does not yet accord with the ordinary public meaning of those terms.

       Thus, the Court’s prior acknowledgment that “[a]n incomplete receiver may still be a

receiver within the meaning of the statute, depending on the degree of completeness” is not a

contradiction.72 To be a receiver “within the meaning of the statute” requires that the particular

component possess all the attributes of a receiver as commonly understood (i.e., the component

must “provide[] housing for the hammer, bolt or breechblock, and firing mechanism, and which is

usually threaded at its forward portion to receive the barrel”) at the point of evaluation, not

“readily” in the near term.

       Nevertheless, Defendants continue to press their case with reference to historical agency

action. Defendants offer several classification letters in which ATF previously determined that a

particular component was (or was not) a “firearm” for purposes of the GCA based on the item’s




69
   Id.
70
   Id.
71
   Nor do Defendants invoke Auer deference here.
72
   Mem. Opinion 10, ECF No. 56 (emphasis added).


                                                 29
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       Case: 23-10718  Document: 9 Page: 57 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 30 of 38 PageID 4719



stage of manufacture.73 They contend that this historical practice proves that ATF does, in fact,

hold statutory authority to regulate firearm components that may “readily” become a frame or

receiver.74 But historical practice does not dictate the interpretation of unambiguous statutory

terms. The ordinary public meaning of those terms does. If these administrative records show, as

Defendants contend, that ATF has previously regulated components that are not yet frames or

receivers but could readily be converted into such items, then the historical practice does nothing

more than confirm that the agency has, perhaps in multiple specific instances over several decades,

exceeded the lawful bounds of its statutory jurisdiction.75 That the agency may have historically

acted ultra vires does not convince the Court it should be permitted to continue the practice.

        Finally, Defendants argue that the Final Rule’s redefinition of the “frame or receiver” is

appropriate because it better achieves the goals Congress intended to accomplish in enacting the

federal firearms laws.76 They warn that “[u]nder any other approach, persons could easily

circumvent the requirements of the GCA and NFA by producing or purchasing almost-complete

[purported] frames or receivers that could easily be altered to produce a functional frame or

receiver.”77 But “the best evidence of Congress’s intent is the statutory text.” NFIB v. Sebelius,

567 U.S. 519, 544 (2012). And the text of 18 U.S.C. § 921(a)(3), read in context, indicates that

when Congress sought to regulate parts of weapons, it did so meticulously. Vague countervailing

assertions about Congress’s purpose in enacting the federal firearms laws do not override this

analysis.



73
   See Defs.’ Supp. Br. Regarding Count I 7–10, ECF No. 132.
74
   See id.
75
   Id. at 8 (“Under the previous definition, then, ATF regularly applied the definition of ‘frame or receiver’
to some unfinished or incomplete frames or receivers if they had reached a sufficiently advanced stage of
the manufacturing process that they could be readily converted to a functional state.”).
76
   Id. at 11.
77
   Id.


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                                                 Add.30
       Case: 23-10718  Document: 9 Page: 58 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 31 of 38 PageID 4720



              ii.   A weapon parts kit is not a firearm.

        The Gun Control Act defines a “firearm” as “(A) any weapon (including a starter gun)

which will or is designed to or may readily be converted to expel a projectile by the action of an

explosive; (B) the frame or receiver of any such weapon; (C) any firearm muffler or firearm

silencer; or (D) any destructive device. Such term does not include an antique firearm.” 18 U.S.C.

§ 921(a)(3). The Final Rule amends that definition, adding that the term “firearm” “shall include

a weapon parts kit that is designed to or may readily be completed, assembled, restored, or

otherwise converted to expel a projectile by the action of an explosive.” 27 C.F.R. § 478.11

(definition of “firearm”). But that language conflicts with the statute’s definition of “firearm.”

        As this Court previously concluded, ATF has no general authority to regulate weapon

parts.78 When Congress enacted the GCA, it replaced the FFA that authorized regulation of “any

part or parts of” a firearm. Federal Firearms Act of 1938, Ch. 850, Pub. L. No. 75-785, 52 Stat.

1250, 1250 (1938) (repealed 1968). In proposing the new regulation, Defendants even

acknowledged as much.79 Instead, under the GCA, the only firearm parts that fall under ATF’s

purview are “the frame or receiver of any such weapon” that Congress defined as a firearm. 18

U.S.C. § 921(a)(3)(B). But the Final Rule goes further by regulating weapon parts kits (that is,

“aggregations of weapon parts”)80 that are “designed to or may readily be completed, assembled,

restored, or otherwise converted to expel a projectile by the action of an explosive.” 27 C.F.R.

§ 478.11.



78
   Mem. Opinion, ECF No. 56.
79
   Definition of “Frame or Receiver” and Identification of Firearms (“Proposed Rule”), 86 Fed. Reg.
27,720, 27,720 (May 21, 2021) (“Congress recognized that regulation of all firearm parts was impractical.
Senator Dodd explained that ‘[t]he present definition of this term includes “any part or parts” of a firearm.
It has been impractical to treat each small part of a firearm as if it were a weapon. The revised definition
substitutes the words “frame or receiver” for the words “any part or parts.”’”).
80
   Defs.’ Resp. to Mot. for Prelim. Inj. 13, ECF No. 41.


                                                     31
                                                 Add.31
       Case: 23-10718  Document: 9 Page: 59 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 32 of 38 PageID 4721



          The GCA covers “any weapon” that is “designed to” or “may readily be converted to” fire

a projectile. 18 U.S.C. § 921(a)(3)(A) (emphasis added). And Defendants contend that weapon

parts kits satisfy this definition because they are clearly “‘designed to’ fire a projectile” and are

sold to customers “for the sole purpose of assembling the kits into functional weapons capable of

firing a projectile.”81 They say “[a] weapon parts kit is nothing more than a disassembled, currently

nonfunctional weapon incapable of firing a projectile in its present form, but that is designed and

intended to be assembled or completed to do so.”82 But Congress’s definition does not cover

weapon parts, or aggregations of weapon parts, regardless of whether the parts may be readily

assembled into something that may fire a projectile. To read § 921(a)(3)(A) as authorizing ATF to

regulate any aggregation of weapon parts that may readily be converted into a weapon would

render § 921(a)(3)(B)’s carveout for “frame[s] or receiver[s]” superfluous. Accepting Defendants’

interpretation would be to read the statute as authorizing regulation of (A) weapon parts generally,

and (B) two specific weapon parts. SEC v. Hallam, 42 F.4th 316, 337 (5th Cir. 2022) (noting courts

should be “hesitant to adopt an interpretation of a congressional enactment which renders

superfluous another portion of that same law”) (citation omitted). This despite Congress’s

purposeful change in the law between the FFA and the GCA, which limited agency authority to

regulation of only frames and receivers. “When Congress acts to amend a statute, [courts] presume

it intends its amendment to have real and substantial effect.” Id. (quoting Intel Corp. Inv. Pol’y

Comm. v. Sulyma, 140 S. Ct. 768, 779 (2020)).

          The statutory context repeatedly confirms that Congress intentionally chose not to regulate

“weapon” parts generally. As further evidence, look to § 921(a)(4)(C), which does allow for the

regulation of “parts,” but only parts of “destructive devices”—one of the four statutory sub-


81
     Defs.’ Supp. Br. Regarding Count I 13, ECF No. 132.
82
     Id. at 14.


                                                    32
                                                Add.32
       Case: 23-10718  Document: 9 Page: 60 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 33 of 38 PageID 4722



definitions of “firearm.” Id. § 921(a)(3)(D). The term “destructive device” is defined as “any

explosive, incendiary, or poison gas,” such as a bomb, grenade, mine, or similar device. Id.

§ 921(a)(4)(A). The definition of “destructive device” also includes “any type of weapon” that

“may be readily converted to, expel a projectile by the action of an explosive or other propellant,

and which has any barrel with a bore of more than one-half inch in diameter.” Id. § 921(a)(4)(B).

For example, suppose a manufacturer tried to sell a parts kit to make a homemade grenade. ATF

could regulate that parts kit because it can regulate “any combination of parts either designed or

intended for use in converting any device into” a grenade, from which a grenade “may be readily

assembled.” Id. § 921(a)(4)(C). Likewise for bombs, rockets, missiles, and other destructive

devices. But commonly sold firearms such as 9mm pistols or .223 rifles do not fall under the

specialized definition of “destructive devices,” so weapon parts kits for those firearms cannot be

properly regulated as components of “destructive devices.” Id. § 921(a)(4).

        In sum, the Gun Control Act’s precise wording demands precise application. Congress

could have described a firearm as “any combination of parts” that would produce a weapon that

could fire a projectile. It used that language elsewhere in the definition. Id. § 921(a)(4)(C).

Congress could have described a firearm as any part “designed” to be part of a weapon. It used

that language, too. Id. § 921(a)(3)(A), (a)(4)(C). Congress could have described a firearm as a set

of parts that “may be readily assembled” into a weapon, as it did for “destructive device.” Id.

§ 921(a)(4)(C). Congress could have written all those things, and the very definition of “firearm”

demonstrates that Congress knew the words that would accomplish those ends.83 But Congress did


83
 Congress’s definition of “machinegun” elsewhere in the U.S. Code is a great example of a definition that
would fit the kind of rule ATF has in mind:

        The term “machinegun” means any weapon which shoots, is designed to shoot, or can be
        readily restored to shoot, automatically more than one shot, without manual reloading, by



                                                   33
                                               Add.33
       Case: 23-10718  Document: 9 Page: 61 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 34 of 38 PageID 4723



not regulate firearm parts as such, let alone aggregations of parts that are “designed to or may

readily be completed, assembled, restored, or otherwise converted to expel a projectile by the

action of an explosive.” 27 C.F.R. § 478.11. Accordingly, the Final Rule’s attempt to regulate

weapon parts kits lacks statutory support.

        As the Court has previously discussed, Defendants’ arguments that the Final Rule’s

regulation of weapon parts kits is consistent with existing judicial interpretations of the Gun

Control Act are unavailing.84 Defendants’ cited cases demonstrate that courts understand the

constraints of the Gun Control Act’s definitions. The only Fifth Circuit case Defendants cite held

that a disassembled shotgun was still a “firearm” under the Gun Control Act’s definition. See

United States v. Ryles, 988 F.2d 13, 16 (5th Cir. 1993). There, the government argued the shotgun

“was only ‘disassembled’ in that the barrel was removed from the stock and that it could have been

assembled in thirty seconds or less.” Id. But the Fifth Circuit only agreed after surveying other

cases in which courts held that inoperable weapons were still firearms “so long as those weapons

‘at the time of the offense did not appear clearly inoperable.’” Id. No weapon parts kit would pass

that test, and Defendants do not claim they would.85


        a single function of the trigger. The term shall also include the frame or receiver of any
        such weapon, any part designed and intended solely and exclusively, or combination of
        parts designed and intended, for use in converting a weapon into a machinegun, and any
        combination of parts from which a machinegun can be assembled if such parts are in the
        possession or under the control of a person.

26 U.S.C. § 5845(b) (emphases added); see also Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440,
448 n.3 (2006) (“Our more natural reading is confirmed by the use of the word ‘contract’ elsewhere in the
United States Code . . . .”).
84
   See Defs.’ Supp. Br. Regarding Count I 13; Defs.’ Resp. to Mot. for Prelim. Inj. 20–21, ECF No. 41.
85
   The best case in support of Defendants is United States v. Wick, 697 F. App’x 507 (9th Cir. 2017), in
which the Ninth Circuit upheld a conviction for unlicensed firearm dealing based on evidence that the
defendant had sold a “complete Uzi parts kits that could ‘readily be converted to expel a projectile by the
action of an explosive,’ thus meeting the statute’s definition of a firearm.” Id. at 508 (quoting 18 U.S.C.
§ 921(a)(3)(A)). But Wick is outside this circuit, nonprecedential, and contains no analysis of the statutory
text.



                                                     34
                                                Add.34
       Case: 23-10718  Document: 9 Page: 62 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 35 of 38 PageID 4724



        In sum, there is a legal distinction between a weapon parts kit, which may be an aggregation

of partially manufactured parts not subject to the agency’s regulatory authority, and a “weapon”

which “may readily be completed [or] assembled . . . to expel a projectile.” 18 U.S.C.

§ 921(a)(3)(A). Defendants contend that drawing such a distinction will produce the absurd result

whereby a person lawfully prohibited from possessing a firearm can obtain the necessary

components and, given advances in technology, self-manufacture a firearm with relative ease and

efficiency.86 Even if it is true that such an interpretation creates loopholes that as a policy matter

should be avoided, it not the role of the judiciary to correct them. That is up to Congress. And until

Congress enacts a different statute, the Court is bound to enforce the law as written.

                                         *        *        *      *

        Because the Final Rule purports to regulate both firearm components that are not yet a

“frame or receiver” and aggregations of weapon parts not otherwise subject to its statutory

authority, the Court holds that the ATF has acted in excess of its statutory jurisdiction by

promulgating it.

    4. Remedy

        The proper remedy for a finding that an agency has exceeded its statutory jurisdiction is

vacatur of the unlawful agency action. While Defendants claim the APA does not allow for such




Defendants’ remaining cases are even less applicable. See United States v. Stewart, 451 F.3d 1071, 1073
n.2 (9th Cir. 2006) (affirming the district court’s denial of an evidentiary hearing on whether probable cause
supported a search warrant based on the defendant’s possession of weapon parts kits that could “readily be
converted” into firearms), overruled on other grounds by Dist. of Columbia v. Heller, 554 U.S. 570, 594–
95 (2008); United States v. Annis, 446 F.3d 852, 857 (8th Cir. 2006) (affirming a sentence enhancement for
possession of a firearm because the defendant had a disassembled rifle but “could easily ‘make the rifle
operational in just a few seconds by putting the bolt in’”); United States v. Theodoropoulos, 866 F.2d 587,
595 n.3 (3d Cir. 1989) (affirming a conviction for possession of an unregistered, disassembled machine
pistol), overruled by United States v. Price, 76 F.3d 526 (3d Cir. 1996).
86
   See Defs.’ Supp. Br. Regarding Count I 14, ECF No. 132; Defs.’ Resp. to Mot. for Prelim. Inj. 1–3, ECF
No. 41.


                                                      35
                                                 Add.35
       Case: 23-10718  Document: 9 Page: 63 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 36 of 38 PageID 4725



a remedy, the Fifth Circuit says otherwise. Data Mktg. P’ship, LP v. United States Dep’t of Labor,

45 F.4th 846, 859 (5th Cir. 2022) (permitting vacatur under 5 U.S.C. § 706(2)).87 While in some

cases the court may remand a rule or decision to the agency to cure procedural defects, the Fifth

Circuit considers vacatur the “default rule” for agency action otherwise found to be unlawful. Id.

at 859–60; accord Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374–75, 375 n.29 (5th Cir. 2022)

(concluding that “[v]acatur is the only statutorily prescribed remedy for a successful APA

challenge to a regulation”) (emphasis added). The D.C. Circuit agrees. United Steel v. Mine Safety

& Health Admin., 925 F.3d 1279, 1287 (D.C. Cir. 2019) (“The ordinary practice is to vacate

unlawful agency action . . . . In rare cases, however, we do not vacate the action but instead remand

for the agency to correct its errors.”). Whether remand-without-vacatur is the appropriate remedy

“turns on two factors: (1) the seriousness of the deficiencies of the action, that is, how likely it is

the agency will be able to justify its decision on remand; and (2) the disruptive consequences of

vacatur.” Id. (cleaned up).

        Vacatur is appropriate given the Court’s conclusion that the ATF has exceeded its statutory

authority. An illegitimate agency action is void ab initio and therefore cannot be remanded as there

is nothing for the agency to justify. Defendants tacitly acknowledge this, noting that “if vacatur is

authorized under the APA, it is not warranted here in the event that Plaintiffs succeed on the merits

of any procedural claim, because the agency can likely correct any such error on remand.”88



87
   Defendants argue that any Fifth Circuit precedent recognizing the permissibility of vacatur is not binding,
because those decisions did not squarely address the issue of whether the APA authorizes such a remedy.
Defs.’ Reply 52–53. As such, Defendants contend this Court may not be bound by a legal “assumption” of
a Fifth Circuit panel. Ochoa-Salgado v. Garland, 5 F.4th 615, 619 (5th Cir. 2021). But even if this Court is
not bound by the Circuit’s view that the APA permits vacatur, Defendants have not offered a compelling
justification why this Court should depart from the mass of persuasive authority—developed over
decades—that has assumed that vacatur is permissible. See Mila Sohoni, The Power to Vacate a Rule, 88
Geo. Wash. L. Rev. 1121, 1178 n.270 (2020) (collecting cases from all Circuits).
88
   Defs.’ Reply 53, ECF No. 204 (emphasis added).


                                                     36
                                                 Add.36
       Case: 23-10718  Document: 9 Page: 64 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 37 of 38 PageID 4726



Moreover, vacating the unlawful assertion of the agency’s authority would be minimally disruptive

because vacatur simply “establish[es] the status quo” that existed for decades prior to the agency’s

issuance of the Final Rule last year. Texas v. United States, 40 F.4th 205, 220 (5th Cir. 2022).

           Defendants argue that any vacatur should only be applied to the parties before the Court

while citing no binding authority in support.89 But such a remedy is more akin to an injunction that

would prohibit the agencies from enforcing their unlawful Final Rule against only certain

individuals. And indeed, “[t]here are meaningful differences between an injunction, which is a

‘drastic and extraordinary remedy,’ and vacatur, which is ‘a less drastic remedy.’” Id. at 219

(quoting Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010)) (assuming the

availability of vacatur under the APA)). “[A] vacatur does nothing but re-establish the status quo

absent the unlawful agency action. Apart from the . . . statutory basis on which the court invalidated

an agency action, vacatur neither compels nor restrains further agency decision-making.” Id. at

220. Thus, the Court applies the default remedy and VACATES the Final Rule on grounds that

the agency acted beyond the scope of its legitimate statutory authority in promulgating it.

           Finally, because vacatur provides Plaintiffs full relief, the Court will not address the

parties’ remaining statutory claims, all of which raise procedural defects that might properly result

in remand of the Final Rule that the Court has already deemed vacated.

      V.      CONCLUSION

           In sum, the Court GRANTS Original Plaintiffs’ unopposed Motion for Leave to Provide

Supplemental Authority, and the Court DENIES JSD Supply’s proposed Motion for Injunction as

prematurely filed. The Court GRANTS Intervenor-Plaintiffs JSD Supply’s and Polymer80’s

Motions to Intervene. Further, for the reasons discussed, the Court GRANTS Plaintiffs’ and



89
     Defs.’ Reply 54–55, ECF No. 204.


                                                  37
                                              Add.37
       Case: 23-10718  Document: 9 Page: 65 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 227 Filed 06/30/23 Page 38 of 38 PageID 4727



Intervenor-Plaintiffs’ Motions for Summary Judgment, DENIES Defendants’ Cross-Motion, and

VACATES the Final Rule. Separate final judgment shall issue as to the appropriate parties and

claims. As discussed, Polymer80 may move for summary judgment on its unique claims to the

extent those remaining claims are not mooted by this decision.

       SO ORDERED this 30th day of June, 2023.




                                               38
                                           Add.38
       Case: 23-10718  Document: 9 Page: 66 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 231 Filed 07/05/23 Page 1 of 2 PageID 4804



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                     §
                                                  §
          Plaintiffs,                             §
                                                  §
 v.                                               §
                                                  §
 BLACKHAWK MANUFACTURING                          §
 GROUP INC., et al.,                              §
                                                  §   Civil Action No. 4:22-cv-00691-O
          Intervenor Plaintiffs,                  §
                                                  §
 v.                                               §
                                                  §
 MERRICK GARLAND, et al.,                         §
                                                  §
          Defendants.                             §

                                       FINAL JUDGMENT

         This Judgment is issued pursuant to Fed. R. Civ. P. 58(a).

         This action came on for consideration by the Court, and the issues having been duly

considered and a decision duly rendered,

         It is ORDERED, ADJUDGED, and DECREED that:

      1. Plaintiffs’ and Intervenor-Plaintiffs’ motions for summary judgment on grounds that the

         Final Rule was issued in excess of ATF’s statutory jurisdiction (Counts I and III) are

         GRANTED and Defendants’ cross-motion for summary judgment as to those claims are

         DENIED.

      2. On these grounds, the Final Rule, Definition of “Frame or Receiver” and Identification of

         Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (codified at 27 C.F.R. pts. 447, 478, and

         479 (2022)), is hereby VACATED.




                                             Add.39
          Case: 23-10718  Document: 9 Page: 67 Date Filed: 07/18/2023
    Case 4:22-cv-00691-O Document 231 Filed 07/05/23 Page 2 of 2 PageID 4805



     3. The parties’ remaining claims are DENIED as moot. 1

     4. All other relief not expressly granted herein is denied.

        SO ORDERED this 5th day of July, 2023.




1
 Orig. Pls.’ Am. Compl., ECF No. 93 (claiming Final Rule: Exceeds Statutory Authority (Count I), Violates
APA’s Notice and Comment Requirement (Count II), Violates APA’s Ban on Arbitrary and Capricious
Conduct (Count III), Violates Nondelegation Principles (Count IV), Violates Take Care Clause (Count V),
Violates Due Process (Count VI), Violates the First Amendment (Count VII)).

See also BlackHawk’s Compl., ECF No. 99 (claiming Final Rule: Exceeds Statutory Authority (Count I),
Violates Separation of Powers (Count II), is Unconstitutionally Vague (Count III), is Arbitrary and
Capricious (Count IV), Violates the APA’s Procedural Requirements (Count V), Violates the
Nondelegation Doctrine (VI), is Contrary to Constitutional Right, Power, Privilege, or Immunity (VII),
Violates the Commerce Clause (VIII), Unlawfully Chills First Amendment Speech (IX), Constitutes an
Unconstitutional Taking Without Just Compensation (Count X)).

See also Defense Distributed, et al.’s Compl., ECF No. 143 (claiming Final Rule: Exceeds Statutory
Authority (Count I), Violates the APA’s Procedural Requirements (Counts II and IV), Violates Delegation
Principles (Count III), Violates the Second Amendment (Count V), Violates Due Process (Count VI)).

See also Polymer80’s Compl., ECF No. 229 (claiming Final Rule: Violates Separation of Powers (Count
I), Exceeds Statutory Authority (Count III), Violates Nondelegation Doctrine (Count V), Violates APA’s
Procedural Requirements (Counts VII and XII), is Arbitrary and Capricious (Count IX), Violates First
Amendment (Count XV), Violates Second Amendment (Count XIV), is Unconstitutionally Vague (Count
XIII), Exceeds Limits of Commerce Clause (Count XVI), Violates the Takings Clause (Count XVII)).

As discussed in the Court’s Memorandum Opinion, Polymer80, Inc. may move for summary judgment on
any remaining claims not mooted by the Court’s opinion. Mem. Opinion at 16, ECF No. 227. Polymer80
SHALL file a notice on the docket no later than July 12, 2023, informing the Court whether its remaining
claims are moot and, if so, proposing an order of Final Judgment as to those claims.

See also JSD Supply’s Compl., ECF No. 230 (claiming Final Rule: Exceeds Statutory Authority (Count I),
Violates Separation of Powers (Count II), is Unconstitutionally Vague (Count III), is Arbitrary and
Capricious (Count IV), Violates APA’s Procedural Requirements (Count V), Violates the Nondelegation
Doctrine (Count VI), is Contrary to Constitutional Right, Power or Privilege (Count VII), Violates the
Commerce Clause (Count VIII), Violates First Amendment (Count IX), Violates the Takings Clause (Count
X)).


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                                               Add.40
       Case: 23-10718  Document: 9 Page: 68 Date Filed: 07/18/2023
 Case 4:22-cv-00691-O Document 238 Filed 07/18/23 Page 1 of 1 PageID 4855



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                  §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §
                                               §
 BLACKHAWK MANUFACTURING                       §
 GROUP INC., et al.,                           §
                                               §   Civil Action No. 4:22-cv-00691-O
        Intervenor Plaintiffs,                 §
                                               §
 v.                                            §
                                               §
 MERRICK GARLAND, et al.,                      §
                                               §
        Defendants.                            §

                 ORDER GRANTING 7-DAY ADMINISTRATIVE STAY

       Before the Court is Defendants’ Emergency Motion for Stay Pending Appeal (ECF No.

236), filed July 14, 2023. Defendants seek a stay of this Court’s recently entered Memorandum

Opinion & Order (ECF No. 227) and Final Judgment (ECF No. 231) pending appeal. Defendants

ask this Court to consider their motion on an expedited basis and issue a decision no later than

10:00 a.m. CDT on July 24, 2023. Having considered the motion, the Court summarily DENIES

the request for a stay pending appeal but STAYS the applicability of its Opinion and Final

Judgment for 7 days in order that Defendants may seek emergency appellate relief.

       SO ORDERED this 18th day of July, 2023.




                                           Add.41
        Case: 23-10718  Document: 9 Page: 69 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 1 of 19 PageID 4834



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


   JENNIFER VANDERSTOK, et al.,

            Plaintiffs,                              Case No. 4:22-cv-00691-O

       v.

   MERRICK GARLAND, in his
   official capacity as Attorney General
   of the United States, et al.,

            Defendants.


                          DECLARATION OF MATTHEW P. VARISCO

  I, Matthew P. Varisco, hereby declare, under penalty of perjury pursuant to 28 U.S.C. § 1746,

  as follows:

                                          Introduction

  1.    I am the Assistant Director for the Office of Enforcement Programs and Services

        (Regulatory Operations) within the Bureau of Alcohol, Tobacco, Firearms, and

        Explosives (ATF), United States Department of Justice (DOJ). I have been in this

        position for 9 months, and have also served as an ATF Special Agent for over 22

        years, including as the Special Agent in Charge of the Philadelphia Field Division,

        which encompasses the Commonwealth of Pennsylvania. Before that, I was an ATF

        Industry Operations Investigator for over 2 years. I hold a Master of Science degree in

        Criminal Justice from Iona University, New Rochelle, New York, and a Master of

        Science degree in Strategic Studies from the U.S. Army War College, Carlisle,




                                            Add.42
        Case: 23-10718  Document: 9 Page: 70 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 2 of 19 PageID 4835
                                    -2-


       Pennsylvania. I have testified in numerous grand jury proceedings as well as criminal

       trials and hearings in U.S. District Court.

  2.   In my current senior executive position, I direct policy, conduct planning, and oversee

       rulemakings for Bureau-wide programmatic offices, including ATF’s National Tracing

       Center Division, Firearms Ammunition Technology Division, Regulatory Affairs

       Division, and National Firearms Act Division. These divisions support every aspect of

       ATF’s mission to protect the public and reduce violent crime throughout the United

       States. I supervise around 833 personnel and currently manage an approximately $57

       million budget.

  3.   I am authorized to provide this Declaration on ATF’s behalf and am providing it in

       support of the Defendants' Emergency Motion for Stay Pending Appeal in this civil

       case. This declaration is based on my personal knowledge and belief, my training and

       experience, as well as information conveyed to me by ATF personnel in the course of

       my official duties. This declaration does not set forth all of the knowledge and

       information I have on the topics discussed herein and it does not state all of the harms

       to ATF and the public from the judgment in this case.

  4.   I am familiar with the definition of “firearm” and the enforcement provisions in the

       Gun Control Act of 1968, as amended (“GCA”), and the National Firearms Act of

       1934, as amended (“NFA”). I am also familiar with ATF’s Final Rule, “Definition of

       ‘Frame or Receiver’ and Identification of Firearms” (“Rule”), 87 FR 24652 (Apr. 26, 2022),

       which implemented several of these GCA and NFA provisions.

  5.   Congress and the Attorney General delegated the responsibility for administering and

       enforcing the GCA and NFA to the Director of ATF, subject to the direction of the




                                             Add.43
        Case: 23-10718  Document: 9 Page: 71 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 3 of 19 PageID 4836
                                    -3-


       Attorney General and the Deputy Attorney General. See 28 U.S.C. 599A(b)(1)-(2); 28

       C.F.R. 0.130(a)(1)–(2).

  6.   ATF’s top priority is public safety. ATF recognizes the role that firearms play in

       violent crimes and, as part of its efforts to administer and enforce the GCA and NFA,

       ATF pursues an integrated regulatory and enforcement strategy. ATF uses the GCA

       and NFA to target, investigate, and recommend prosecution of offenders to reduce the

       level of violent crime and to enhance public safety. ATF also takes steps to increase

       State and local awareness of available federal prosecution under these statutes through,

       among other things, devoting its limited resources to developing and presenting

       relevant training and conducting outreach.

  7.   ATF uses its regulatory authority to similarly fulfill its public safety mission. In order to

       curb the illegal use of firearms and enforce the federal firearms laws, ATF issues

       licenses to firearms manufacturers, importers, dealers, and curio or relic collectors, and

       conducts federal firearms licensee (“licensee”) qualification and compliance

       inspections. In addition to aiding the enforcement of federal requirements for firearm

       purchases, compliance inspections of existing licensees focus on assisting law

       enforcement to identify and apprehend criminals who illegally purchase and possess

       firearms. As part of this effort, ATF also takes steps to increase awareness of the legal

       obligations among the firearms industry and the public. To accomplish this, ATF

       devotes its limited resources to educational campaigns and helping to ensure that those

       engaged in the business of manufacturing, importing, or dealing in firearms follow the

       law and have the essential education, training, and support to comply with federal law.

  8.   ATF issues rulemakings, rulings, forms, open letters, public safety advisories, Q&As,

       marking and recordkeeping variances (alternate methods to comply with the




                                            Add.44
        Case: 23-10718  Document: 9 Page: 72 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 4 of 19 PageID 4837
                                    -4-


         regulations), and a variety of publications to implement, administer, and enforce the

         GCA and NFA.

  9.     Among the critical public safety issues ATF has identified and attempted to address is

         the impact of the proliferation of unserialized and unregulated firearms on efforts to

         reduce violent crime, including: (1) the proliferation of “privately made firearms”

         (“PMFs”), sometimes referred to as “ghost guns;” and (2) limitations of certain

         regulatory definitions that, as described below, could result in the vast majority of

         firearms in circulation in the United States having no frame or receiver.

                                                     The Rule

  10.    This rule updated the regulatory definitions of “frame or receiver,” “firearm,” and

         associated marking and recordkeeping regulations. This update helped prevent

         firearms, particularly, easy-to-complete firearm parts kits, from falling into the hands of

         felons and other prohibited persons 1 who, without the Rule, were able to purchase

         them without a background check or transaction records. The Rule also curbs the

         proliferation of unserialized privately made firearms, typically assembled from those

         kits, by ensuring that those weapons, or the frames or receivers of those weapons, are

         subject to the same requirements as commercially produced firearms whenever they

         are accepted into inventory by licensees. This, in turn, helps law enforcement solve

         crime by providing law enforcement officers with the ability to trace those weapons to

         a potential suspect if they are later found at a crime scene.


  1 Among other GCA prohibitions, 18 U.S.C. § 922(g) makes it unlawful for persons who fall into one or more

  of the following categories of "prohibited persons" to ship, transport, receive, or possess firearms: felons,
  fugitives from justice, drug abusers, persons adjudicated as a mental defective or committed to a mental
  institution, illegal aliens, certain nonimmigrant aliens, persons dishonorably discharged from the military,
  persons who have renounced their U.S. citizenship, persons subject to a qualifying domestic violence
  restraining order, and persons who have been convicted of a misdemeanor crime of domestic violence.
  Additionally, under 18 U.S.C. § 922(b)(1), juveniles under the age of 21 are prohibited from purchasing
  firearms other than a rifle or shotgun from a licensee, and if under 18, any firearms.




                                                     Add.45
        Case: 23-10718  Document: 9 Page: 73 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 5 of 19 PageID 4838
                                    -5-


  11.   ATF issued the Rule to increase public safety with the goal of ensuring proper

        marking, recordkeeping, and traceability of all firearms manufactured, imported, or

        otherwise acquired, and sold or otherwise disposed of by licensees.

  12.   I am aware that in an Opinion and Order dated June 30, 2023, and a Final Judgment

        dated July 5, 2023, the district court in VanDerStok v. Garland, 4:22-cv-00691-O (N.D.

        Tex.), determined that two provisions of the Rule, Definition of “Frame or Receiver” and

        Identification of Firearms, 87 Fed. Reg. 24,652f (Apr. 26, 2022), exceeded ATF’s

        regulatory authority, and vacated the Rule.

  13.   The Court’s prior preliminary injunction decisions and June 30 Opinion and Order

        were limited to determining that these two specific provisions in the Rule—namely, 27

        CFR 478.12(c) (“frame or receiver”), regulating certain partially complete frames and

        receivers (i.e., those are designed to or may readily be designed to or may readily be

        completed, assembled, restored, or otherwise converted to a functional state) as falling

        within the definition of “frame or receiver,” and the portion of 27 CFR 478.11

        (“firearm”) that addresses certain weapon parts kits (i.e., those that are designed to or

        may readily be completed, assembled, restored, or otherwise converted to expel a

        projectile by the action of an explosive) as falling within the definition of “firearm.”

  14.   The Rule, which was published with 90 days of public notice and comment, and which

        evaluated over 290,000 public comments, did considerably more than amend the

        regulatory definition of “frame or receiver” to include certain partially complete frames

        or receivers, 27 CFR 478.12(c), and amend the regulatory definition of “firearm” to

        include certain weapon part kits, 27 CFR 478.11.

  15.   In addition to these amendments, the Rule also: (a) defines the terms “frame” for

        handguns, and “receiver” for long guns and other projectiles weapons, to identify the




                                             Add.46
        Case: 23-10718  Document: 9 Page: 74 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 6 of 19 PageID 4839
                                    -6-


        specific part that provides the housing for one primary fire control component with

        respect to those weapons, and grandfathers pre-existing designs; (b) addresses how and

        by when unserialized firearms that are privately made and are voluntarily accepted into

        the inventory of a licensee must be marked and recorded; (c) provides silencer

        manufacturers with important clarifications as to which portion of a complete muffler

        or silencer device must be marked with a serial number and other required

        identification, and when (often tiny) individual silencer parts must be marked; (d)

        explains how “multi-piece” frames or receivers that are modular—those that may be

        disassembled into standardized multiple subparts—are required to be marked; (e)

        updates the marking requirements for manufacturers to allow them to mark their

        abbreviated license number as an alternative to “city” and “state,” by clarifying what it

        means to mark “conspicuously,” and permits adoption of markings when firearms are

        being transferred prior to first sale or distribution into commerce and when

        gunsmithing operations are performed; (f) requires all licensees to consolidate records

        of manufacture, importation, acquisition, and disposition of firearms; and (g) updates

        existing regulations to require that all records retained by firearms licensees be

        maintained until they discontinue business or licensed operations rather than requiring

        them to be maintained for only 20 years.

                                       Overview of Harms

  16.   Eliminating the entire Rule—including provisions other than those evaluated by the

        Court in its opinions and orders—would irreparably harm the public, the regulated

        community, and ATF. Such elimination would damage public safety by allowing

        felons and other prohibited purchasers (including underage persons) and possessors to

        easily buy and assemble both serialized and unserialized firearms, by permitting the




                                             Add.47
        Case: 23-10718  Document: 9 Page: 75 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 7 of 19 PageID 4840
                                    -7-


        widespread proliferation of unserialized firearms, and by impairing law enforcement’s

        ability to trace firearms recovered at crime scenes. In addition, the Rule provides

        clarity to, and eases certain regulatory burdens on, the regulated community, such that

        its elimination would cause confusion among, and costs to, that community. ATF has

        already spent substantial resources to implement the Rule. Thus, eliminating the Rule

        would—especially if any elimination were later narrowed or reversed—require ATF to

        spend additional substantial resources and would create confusion both inside and

        outside the agency.

                                     Harm to Public Safety

  17.   A number of the Rule’s provisions are aimed at ensuring that all firearms have a single

        frame or receiver subject to the statutory serialization, licensing, background check,

        recordkeeping, and other requirements. The effective implementation of those

        requirements is critically important to public safety, primarily for two separate reasons.

  18.   First, these requirements prevent felons and other prohibited persons throughout the

        country from acquiring firearms by ensuring that licensees sell firearms only after the

        purchaser undergoes a background check (or falls within an exception) and completes

        an ATF Form 4473, Firearms Transaction Record.

  19.   Second, as detailed extensively in the Rule and the administrative record, unserialized

        firearms, which have been increasingly recovered at crime scenes, are nearly impossible

        to trace and therefore pose a significant challenge to law enforcement. (87 FR 24655 –

        24660; AR 818-819; 825-827; 855-859; 871-901;71,465-71,657). The number of

        suspected unserialized firearms recovered by law enforcement agencies and submitted

        to ATF for tracing increased by 1,083% from 2017 (1,629) to 2021 (19,273). (National

        Firearms Commerce and Trafficking Assessment Vol. II: Part III, Page 5). With the




                                             Add.48
        Case: 23-10718  Document: 9 Page: 76 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 8 of 19 PageID 4841
                                    -8-


        Rule in its infancy, the threat of unserialized firearms continues. Between August 24,

        2022, and July 6, 2023, a total of approximately 23,452 suspected privately made

        firearms were recovered at crime scenes and submitted for tracing. (ATF PMF Trace

        Data, queried July 14, 2023). These numbers are likely far lower than the actual

        number of privately made firearms recovered from crime scenes because some law

        enforcement departments incorrectly trace some privately made firearms as

        commercially manufactured firearms, or may not see a need to use their resources to

        attempt to trace firearms with no serial numbers or other markings. (87 FR 24656

        n.18).

  20.   Eliminating all of the Rule’s provisions would thus irreparably harm public safety by

        allowing the continued proliferation of unserialized firearms—generally acquired by

        individuals who have not undergone a background check and sold with no record of

        their sale—on a number of different dimensions.

  21.   At the outset, the two provisions that the Court determined exceeded ATF’s regulatory

        authority in its opinion vacating the Rule are critical to public safety because they

        prevent easy circumvention of the GCA’s entire regulatory scheme. 27 CFR 478.12(c)

        (“frame or receiver”), which explains when a partially complete, disassembled, or

        nonfunctional frame or receiver has reached the stage of manufacture to be considered

        a “frame” or “receiver,” ensures that companies that produce and sell frame or

        receiver parts kits, or standalone partially complete frames or receivers, that allow

        ready completion and assembly to be functional frames or receivers: (a) are properly

        licensed; (b) place traceable marks of identification on them; (c) conduct background

        checks when they are sold to prevent felons and other prohibited persons from

        acquiring them; and (d) maintain records through which the weapons that incorporate




                                             Add.49
        Case: 23-10718  Document: 9 Page: 77 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 9 of 19 PageID 4842
                                    -9-


        them can traced if later used in crime. Under the Court’s decision, unlike every other

        firearms manufacturer, a manufacturer of frames or receivers can easily avoid the

        regulatory requirements of the GCA simply by producing and selling frames or

        receivers that are missing, for example, a single hole necessary to install the applicable

        fire control component, or that has a small piece of plastic that can easily be removed

        to allow installation of that component (i.e., a frame or receiver that is “partially

        complete”).

  22.   The same is true of weapon parts kits. 27 CFR 478.11 (“firearm”) ensures that

        companies that produce and sell weapon parts kits, or aggregations of parts that allow

        a weapon to readily be completed and assembled to expel a lethal projectile, are subject

        to the same requirements as all other firearms manufacturers. Again, these

        requirements help prevent violent crime by requiring manufacturers to conduct

        background checks to prevent prohibited persons from receiving them, and requiring

        licensees to mark and keep records that allow those weapons to be traced to a potential

        suspect if they are later used in a crime.

  23.   In recognition of these risks to public safety, the Court had previously limited its

        preliminary injunctions so that it did not apply to plaintiffs’ customers who were

        prohibited from possessing firearms pursuant to 18 U.S.C. § 922(g). In vacating the

        Rule, that important limitation to the Court’s prior rulings no longer exists, which will

        only encourage felons and other prohibited purchasers (including underage persons)

        and possessors to buy firearms in the configuration of weapon parts kits or partially

        complete frames or receivers that enable those individuals to easily acquire the parts

        and readily complete and assemble a functional unserialized firearm for use in violent

        crime. (87 FR 24686 & n.107).




                                              Add.50
        Case: 23-10718  Document: 9 Page: 78 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 10 of 19 PageID 4843
                                    -10-


   24.   For example, in New Orleans, Louisiana, from August 19, 2021, to February 1, 2022, a

         20-year-old named Tyrese Harris committed a series of carjackings using a privately

         made 9mm caliber semiautomatic pistol that had been completed and assembled from

         a Lone Wolf parts kit that could not be traced. During one attempted carjacking,

         Harris fired the weapon at the driver, and in another, the victim was dragged by the car

         resulting in serious bodily injury. He was sentenced to 45 years in prison. See also,

         Teens buying ghost guns online, with deadly consequences, Washington Post (July 12, 2023),

         available at https://www.washingtonpost.com/dc-md-va/2023/07/12/teens-ghost-

         guns-deadly-shootings/.

   25.   In addition, numerous other provisions of the Rule, which were not addressed by the

         Court, seek to combat the proliferation of unserialized, or otherwise untraceable,

         firearms in different ways. Eliminating those provisions would thus further undermine

         public safety.

   26.   First, one provision of the Rule updates the regulatory definitions of “frame” and

         “receiver” to reflect advances in weapons technology. As noted in the Rule (87 FR

         24691, 24655) and administrative record (AR 628-687; 701-709; 719-722; 71,330), the

         1968 regulatory definition of “frame or receiver” meant “[t]hat part of a firearm which

         provides housing for the hammer, bolt or breechblock, and firing mechanism.” But

         today, 90% of firearms currently available do not have a single part that houses a

         hammer, bolt or breechblock, and firing mechanism; instead, most firearms have split

         frames or receivers (i.e., they house those three components in two or more separate

         parts), or they house a striker rather than a hammer. As a result, under a strict reading

         of the previous regulatory definition—which had been adopted by at least three federal




                                                Add.51
        Case: 23-10718  Document: 9 Page: 79 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 11 of 19 PageID 4844
                                    -11-


         district courts (87 FR 24691, 24655)2—the vast majority of available firearms would

         have no frame or receiver.

   27.   The practical result of that strict reading is that every individual part of almost all

         firearms in circulation in the United States may be sold separately without compliance

         with the statutory background check, licensing, serialization, and recordkeeping

         requirements. As illustrated below, a felon or other prohibited person could easily

         purchase online Part A and Part B (i.e., the upper and lower receiver) as “non-

         firearms” and assemble a fully functional AR-variant firearm within a minute. And that

         firearm may not have a serial number, and even if it did, there would be no

         recordkeeping required that would allow ATF to trace it if it were later recovered at a

         crime scene.




                                                                                                   Part A




                                                           Part B




                                                                                   Complete Weapon




   2
    See United States v. Jimenez, 191 F. Supp. 3d 1038 (N.D. Cal 2016); United States v. Roh, 8:14-cr-
   00167-JVS, May 16, 2019; United States v. Rowold, 429 F. Supp. 3d 469 (N.D. Ohio 2019).




                                                 Add.52
        Case: 23-10718  Document: 9 Page: 80 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 12 of 19 PageID 4845
                                    -12-


   28.   Notably, a court in the Northern District of Ohio encouraged ATF to alter the 1968

         regulatory definition of “frame or receiver,” stating that “[A]TF retains the authority –

         and has the duty – to fix the regulatory scheme and to regulate AR-15 lower receivers

         as firearms within the GCA. The result I reach only prevents the agency from using an

         unreasonable and legally unacceptable application of its current regulation to

         accomplish that worthwhile objective.” Rowold, 429 F. Supp. 3d at 476.

   29.   Second, the Rule requires that firearms licensees mark unserialized firearms whenever

         they are voluntarily accepted into the licensee’s inventory. The GCA requires that

         licensees record the acquisition and disposition of each firearm, but without unique

         identifying information to record, those records are ineffective as a means of tracing or

         locating unserialized firearms. Thus, eliminating that provision of the Rule would

         undermine the GCA’s requirements that ensure every licensee has recorded each

         firearm’s acquisition and disposition for purposes of tracing.

   30.   As explained above, the lack of proper records makes it nearly impossible to trace

         firearms that are recovered at crime scenes. But it also harms public safety in other,

         related ways. For example, it is difficult, if not impossible, for licensees and ATF

         (during inspections) to match accurately and reliably the unserialized firearms in a

         licensee’s inventory with those in required records, or to determine whether a

         particular unserialized firearm recorded as disposed on a Form 4473 (which details

         information of a purchaser) are those recorded as disposed in the records. Such

         difficulty not only makes it hard for ATF to ensure that licensees are keeping accurate

         records during inspections, but also means that licensees and ATF will have difficulty

         accurately determining which unserialized firearms were stolen or lost from inventory

         if such an incident occurs, or were the same crime guns listed on an ATF Form 4473.




                                             Add.53
        Case: 23-10718  Document: 9 Page: 81 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 13 of 19 PageID 4846
                                    -13-


         In addition, the lack of such a serialization requirement makes it much more difficult

         for police to locate stolen unserialized firearms in the business inventories of

         pawnbrokers, for example, or to return any recovered stolen or lost unserialized

         firearms to their rightful owners. (87 FR 24659-60)

   31.   Third, the Rule imposes a number of requirements related to silencers and mufflers

         that are important for public safety. The Rule explains how, by when, and where on

         the device, including one that is modular, the silencer or muffler must be marked so

         that law enforcement officers can trace them if later found at a crime scene. The Rule

         also prohibits manufacturers from marking a removable end cap on the device, which

         can be damaged during use, thus destroying the information necessary to trace the

         firearm. (87 FR 24660, 24727, 24739)

   32.   Fourth, the Rule updates existing regulations to require that all records retained by

         firearms licensees be maintained (including allowing storage of old paper records at a

         separate warehouse) until they discontinue business or licensed operations, rather than

         destroying them after a twenty-year period. As the Rule and administrative record

         make clear, numerous older firearms could not be traced after having been used in

         crime because the records were destroyed after 20 years. (87 FR 24667, 24712; AR

         68,595-597; 68,605-606; 68,626-628; 68,640-644; 68,655; 68,659-661). There are

         currently 81,808 total active federal firearms licensees. Of those, 14,048 have been in

         business 20 years or more, and an additional 751 have been in business for 19 years.

         With the Rule vacated, these thousands of licensees are able to destroy their dated

         records now and every day the Rule remains vacated without recourse. Once these

         firearms transactions records are destroyed, there is no way to recover the information




                                              Add.54
        Case: 23-10718  Document: 9 Page: 82 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 14 of 19 PageID 4847
                                    -14-


         they contained, which will make any additional traces of the firearms involved

         unsuccessful.

   33.   As explained in the Rule, the National Tracing Center conducted an analysis of all trace

         requests submitted between January 1, 2010, and December 31, 2021, that were closed

         under a particular code in the tracing system indicating the licensee specifically

         informed ATF that it did not have records for that firearm because the records were

         more than 20 years old and had been destroyed. A total of approximately 16,324

         traces, or 1,360 on average per year, could not be completed during this time period

         because ATF was informed the records had been destroyed. Of these total

         unsuccessful traces, approximately 182 of the traces were designated as “Urgent,”

         1,013 were related to a homicide or attempted homicide (not including suicide), and

         4,237 were related to “Violent Crime.” (87 FR 24712)

                               Harm to the Regulated Community

   34.   In addition to harming public safety, eliminating the entire Rule would substantially

         injure the regulated community, in primarily two different ways. First, it would create

         substantial confusion among the regulated community regarding their legal obligations.

         Second, it would increase regulatory burdens on the regulated community.

   35.   First, eliminating the Rule will create, and indeed has already created, significant

         confusion among the regulated community—impacting approximately 80,000

         licensees. Vacating the entire Rule also has a significant impact on formal ATF

         Rulings that were superseded by the Rule because the firearms industry is unclear how

         to proceed with their current business practices. ATF has already received inquiries

         from members of the firearms industry, a trade association that represents many of

         those members, and a software company, seeking clarification whether they must now




                                              Add.55
        Case: 23-10718  Document: 9 Page: 83 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 15 of 19 PageID 4848
                                    -15-


         reverse their newly implemented business practices (e.g., whether these licensees must

         now separate their recently consolidated records) and methods of operation. This

         confusion will only increase if the Court’s ruling, or the scope of relief, is reversed on

         appeal, which may require licensees to overhaul certain business practices twice in a

         short period of time.

   36.   Second, a number of provisions of the Rule were aimed at easing burdens on the

         regulated community, and their elimination harms that community by reimposing

         those requirements. For example, the Rule authorizes manufacturers to mark the

         “frame” or “receiver” with their abbreviated license number instead of “city” and

         “state” of manufacture, and enumerates specific exceptions as to when and how a

         licensee may adopt existing markings. Without the Rule, these codified allowances and

         blanket “marking variances” would not exist, increasing burdens on the firearms

         industry. These burdens may be particularly onerous because manufacturers must set

         up their manufacturing processes to comply with marking requirements, a process that

         costs substantial time and money to accomplish.

   37.   In addition, the Rule provides silencer manufacturers with important clarification as to

         which portion of a complete muffler or silencer device must be marked with a serial

         number and other required identification. Under the GCA, the term “silencer” is

         defined to include each small individual part designed and intended only to be used to

         fabricate a silencer. It is extremely difficult and expensive for silencer manufacturers

         to mark each tiny individual silencer part. For this reason, the Rule only requires them

         to mark what is defined as the “frame or receiver” of the silencer. (AR 917; 937-938).

   38.   Similarly, the Rule also provides an exception for qualified manufacturers to delay or

         avoid registration of silencer parts if they become part of a complete device, or




                                              Add.56
        Case: 23-10718  Document: 9 Page: 84 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 16 of 19 PageID 4849
                                    -16-


         gunsmithing operations are being performed on an existing marked and registered

         silencer device. Without the Rule, there is no exception for manufacturers from the

         requirement that they mark and register each and every silencer part, and no grace

         period in which to mark them after completion of manufacture.

   39.   The Rule replaced many prior ATF Rulings with updated information that explained

         how to conduct business under law. (87 FR 24664 n.53, 24665-66, 24688, 24702-03,

         24729-30). For example, the Rule superseded ATF Rulings 2009-5 (Firearms

         Manufacturing Activities, Identification Markings of Firearms) and 2013-3 (Adopting

         Identification of Firearms). Under the applicable provisions of the Rule,

         manufacturers may adopt existing markings on a firearm and a “non-marking variance

         request” or notice is no longer required under the new regulations under certain

         circumstances. Without the Rule, manufacturers will either have to mark firearms they

         remanufacture, or apply for a variance not to mark firearms they remanufacture even

         though they have already been marked by another manufacturer. These additional

         markings are expensive for licensees to place, and confusing to law enforcement when

         conducting a trace of a crime gun.

   40.   In addition, the Rule superseded ATF Ruling 2011–1 (Importers Consolidated

         Records) and ATF Ruling 2016–3 (Consolidation of Records Required for

         Manufacturers), which allowed licensed manufacturers and importers to consolidate

         their records of both production/importation, and disposition, but only under certain

         conditions. The Rule made this consolidation a requirement. If the Rule is removed,

         manufacturers and importers would need to undo this consolidation and keep their

         production/importation records separately from their records of sale or distribution

         unless they obtain a variance.




                                              Add.57
        Case: 23-10718  Document: 9 Page: 85 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 17 of 19 PageID 4850
                                    -17-


                                          Harm to ATF

   41.   In addition, elimination of the Rule will substantially harm ATF, which has devoted

         significant resources to training and implementing the Rule, and which will need to

         devote substantial additional resources to comply.

   42.   For example, after the issuance of the Rule, ATF amended its Form 4473, Firearms

         Transaction Record, to comport with the updates made by the Rule. This form must

         be completed every time a licensee transfers a firearm to a non-licensee. ATF will

         incur substantial monetary costs to publish a revised version of Form 4473. This

         would include the cost of creating, printing, and shipping approximately 25 million

         replacement forms to licensees throughout the United States. This cost could double

         if the Court’s decision is overturned or rendered inconsistent with rulings by other

         courts. In addition to ATF’s costs to change the Form 4473, there are also costs to the

         industry to develop the electronic Form 4473 for their electronic systems; in addition

         to the costs, these changes can take roughly several months to complete.

   43.   After publication of the Rule, ATF and the Department of Justice conducted extensive

         training and outreach to federal, state, and local law enforcement partners, and United

         States Attorney’s Offices nationwide regarding the impact of the Rule. ATF

         extensively trained its personnel on the scope of the Rule and identified one Industry

         Operations Investigator and one Special Agent in each ATF field division as the local

         subject matter expert on the Rule. ATF conducted approximately 18 internal trainings

         which around 1,978 ATF employees attended. Additionally, ATF presented at least

         four virtual trainings for over 5,200 regulated industry members and in person

         trainings to regulated industry members at the Orchid Advisors Conference, SAAMI

         Conference, National Shooting Sports Foundation conference, and Firearms and




                                             Add.58
        Case: 23-10718  Document: 9 Page: 86 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 18 of 19 PageID 4851
                                    -18-


         Ammunition Import Roundtable Conference. ATF’s Office of Field Operations also

         conducted over 150 licensee seminars from June 22, 2022, to the present which

         included explaining the Rule.

   44.   Each training covered the Rule’s definition of “frame or receiver”; its definition of

         “privately made firearm”; marking and recordkeeping for licensees; general changes to

         the marking, recordkeeping, and record retention requirements for licensees; and

         affected ATF Rulings/Procedures. In each training, experts from ATF’s Firearms and

         Ammunition Technology Division, Firearms and Explosives Services Division,

         National Firearms Act Division, Field Operations, and Firearms and Explosives Law

         Division answered numerous questions.

   45.   In addition to training, ATF established a robust public facing webpage,

         (https://www.atf.gov/rules-and-regulations/definition-frame-or-receiver) dedicated to

         the Rule. The website includes a summary of the Rule, resource guides explaining the

         impact of the Rule, and it provides access to the regulation’s website with the Rule’s

         text, the detailed PowerPoint training, frequently asked questions, and a recorded

         training video on the Rule.

   46.   Removal of the Rule will result in widespread confusion among law enforcement

         officers and prosecutors, firearms industry members, and the general public. ATF has

         already begun to receive these inquiries, and will need to devote the agency’s limited

         time and resources to retraining internal personnel and educating the regulated

         industry, law enforcement, and the public on implementation of this decision. The

         potential of an appeal or contrary decision by the court of appeals or another district

         court further increases the risk that ATF will need to expend further resources to

         undertake continual efforts to update the public on the status of the Rule.




                                             Add.59
        Case: 23-10718  Document: 9 Page: 87 Date Filed: 07/18/2023
Case 4:22-cv-00691-O Document 236-1 Filed 07/14/23 Page 19 of 19 PageID 4852
                                    -19-




   I declare under penalty of perjury that the foregoing is true and correct.

   Executed this 14th day of July, 2023.




   _________________________
   Matthew P. Varisco
   Assistant Director, Enforcement Programs and Services (Regulatory Operations)
   Bureau of Alcohol, Tobacco, Firearms and Explosives
   United States Department of Justice




                                             Add.60
